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                                                                            December 4, 2023

   BY CM/ECF

   Catherine O’Hagan Wolfe
   Clerk of the Court
   Thurgood Marshall United States Courthouse
   40 Foley Square
   New York, NY 10007

                          Re:     Carroll v. Trump, Nos. 23-1045, 23-1146

   Dear Ms. O’Hagan Wolfe,

          I represent Plaintiff-Appellee E. Jean Carroll and write pursuant to F.R.A.P. 28(j).

          At oral argument in this case, I referred to the pending appeal in Blassingame v. Trump,
   No. 22-5069 (D.C. Cir.). On Friday, the D.C. Circuit affirmed the denial of Defendant-Appellant
   Donald J. Trump’s presidential absolute immunity defense in that matter. See Appendix A.

          The Blassingame opinion is relevant to this appeal in three fundamental ways.

            First, it does not describe presidential absolute immunity as “jurisdictional” or as an issue
   that the district court would have been independently obliged to raise sua sponte. Instead, it refers
   to this defense as one that presidents must affirmatively claim and establish. Id. at 53.

          Second, it repeatedly highlights the context-sensitive nature of the immunity inquiry, and
   expressly contemplates that fact discovery could bear significantly on the success of an immunity
   defense. See id. at 5-6, 51-54. These holdings speak to the issues of delay and prejudice here.

           Finally, it rejects Trump’s categorial position concerning the scope of presidential absolute
   immunity for speech on matters of public concern. Id. at 23-40. In so doing, it holds that “public
   concern” cannot be the relevant limiting principle, since this would (among other issues) immunize
   presidents from civil damages liability for their own “sexual misconduct.” Id. at 25. The opinion
   then proceeds to address a distinction (not at issue here) between campaign and official activities,
   and to clarify the framework applicable to that distinction. See id. at 27-34. Throughout, however,
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    Blassingame emphasizes that the scope of presidential absolute immunity does not reach all
    activity—or all speech—undertaken by presidents during their tenure in office. See id. at 22-26.



                                                                      Respectfully submitted,



                                                                      Joshua Matz
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           APPENDIX A
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     United States Court of Appeals
             FOR THE DISTRICT OF COLUMBIA CIRCUIT



    Argued December 7, 2022           Decided December 1, 2023

                            No. 22-5069

             JAMES BLASSINGAME AND SIDNEY HEMBY,
                          APPELLEES

                                 v.

                         DONALD J. TRUMP,
                           APPELLANT



                Consolidated with 22-7030, 22-7031


            Appeals from the United States District Court
                    for the District of Columbia
                        (No. 1:21-cv-00858)
                        (No. 1:21-cv-00586)
                        (No. 1:21-cv-00400)



        Jesse R. Binnall argued the cause for appellant. With him
    on the briefs were David A. Warrington, Jonathan M. Shaw,
    and Gary M. Lawkowski.

        Joseph M. Sellers argued the cause for appellees. With
    him on the brief were Brian Corman, Alison S. Deich, Philip
    Andonian, Patrick A. Malone, Heather J. Kelly, Anna Kathryn
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                                   2
    Barnes, Matthew Kaiser, Sarah R. Fink, Cameron Kistler,
    Erica Newland, Kristy Parker, Helen E. White, Genevieve C.
    Nadeau, and Benjamin L. Berwick.

         Elizabeth B. Wydra and Brianne J. Gorod were on the
    brief for amici curiae Law Professors in support of appellees.

        Joshua Matz, Raymond P. Tolentino, Carmen Iguina
    Gonzalez, and Alysha M. Naik were on the brief for amici
    curiae Former White House and Department of Justice
    Officials in support of appellees.

        Joseph M. Meyer, Debo P. Adegbile, and Mark C. Fleming
    were on the brief for amici curiae Former Diplomats and
    Foreign Policy Officials in support of appellees.

         Kathleen R. Hartnett and David S. Louk were on the brief
    for amicus curiae Jared Holt in support of appellees.

        Before: SRINIVASAN, Chief Judge, KATSAS, Circuit Judge,
    and ROGERS, Senior Circuit Judge.

        Opinion for the Court filed by Chief Judge SRINIVASAN.

        Concurring opinion filed by Circuit Judge KATSAS.

       Opinion concurring in part filed by Senior Circuit Judge
    ROGERS.

        SRINIVASAN, Chief Judge: Since the Supreme Court’s
    decision in Nixon v. Fitzgerald, 457 U.S. 731 (1982),
    Presidents have carried out their official responsibilities free
    from any exposure to civil damages liability. Nixon established
    a President’s absolute immunity from civil damages claims
    predicated on his official acts. The object of a President’s
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                                    3
    official-act immunity is to assure that he can fearlessly and
    impartially discharge the singularly weighty duties of the
    office.

         The President, though, does not spend every minute of
    every day exercising official responsibilities. And when he
    acts outside the functions of his office, he does not continue to
    enjoy immunity from damages liability just because he happens
    to be the President. Rather, as the Supreme Court made clear
    in Clinton v. Jones, 520 U.S. 681 (1997), a President’s official-
    act immunity by nature does not extend to his unofficial
    actions. When he acts in an unofficial, private capacity, he is
    subject to civil suits like any private citizen.

         This appeal calls for us to apply those key decisional
    precedents on presidential immunity to a decidedly
    unprecedented event involving the presidency: the riot at the
    Capitol on January 6, 2021, just as Congress convened to
    tabulate the Electoral College vote and declare the person
    elected President. The plaintiffs in the cases before us are
    Capitol Police officers and members of Congress who were at
    the Capitol that day. They seek civil damages for harms they
    allege they suffered arising from the riot. Although they sue
    various persons, the sole defendant named in all the cases
    consolidated before us is former President Donald J. Trump.

         The plaintiffs contend that, during President Trump’s final
    months in office, he conspired with political allies and
    supporters to obtain a second term despite his defeat in the
    2020 election. He allegedly advanced that cause before
    January 6 by repeatedly making false claims that the election
    might be (and then had been) stolen, filing meritless lawsuits
    challenging the election results, and pressuring state and local
    officials to reverse the election outcomes in their jurisdictions.
    Those efforts allegedly culminated in the 75-minute speech
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                                    4
    President Trump delivered at the rally on January 6. According
    to the plaintiffs, President Trump’s actions, including
    ultimately his speech on January 6, sparked the ensuing riot at
    the Capitol.

         President Trump moved in the district court to dismiss the
    claims against him, including on grounds of a President’s
    official-act immunity from damages liability. The district court
    largely rejected his claim of immunity, and President Trump
    now appeals. The sole issue before us is whether President
    Trump has demonstrated an entitlement to official-act
    immunity for his actions leading up to and on January 6 as
    alleged in the complaints.

         We answer no, at least at this stage of the proceedings.
    When a first-term President opts to seek a second term, his
    campaign to win re-election is not an official presidential act.
    The Office of the Presidency as an institution is agnostic about
    who will occupy it next. And campaigning to gain that office
    is not an official act of the office. So, when a sitting President
    running for a second term attends a private fundraiser for his
    re-election effort, hires (or fires) his campaign staff, cuts a
    political ad supporting his candidacy, or speaks at a campaign
    rally funded and organized by his re-election campaign
    committee, he is not carrying out the official duties of the
    presidency. He is acting as office-seeker, not office-holder—
    no less than are the persons running against him when they take
    precisely the same actions in their competing campaigns to
    attain precisely the same office.

         President Trump himself recognized that he engaged in his
    campaign to win re-election—including his post-election
    efforts to alter the declared results in his favor—in his personal
    capacity as presidential candidate, not in his official capacity
    as sitting President. That is evident in his effort to intervene in
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    the Supreme Court’s consideration of a post-election lawsuit
    challenging the administration of the election in various
    battleground states. He expressly filed his motion in the
    Supreme Court “in his personal capacity as candidate for re-
    election to the office of President” rather than in his official
    capacity as sitting President. Trump Mot. to Intervene 3, Texas
    v. Pennsylvania, No. 22O155 (U.S. 2020). And he grounded
    his claimed right to intervene in the case in his “unique and
    substantial personal interests as a candidate for re-election to
    the Office of President” rather than in any official interest in
    exercising the office’s duties. Id. at 24.

         In arguing that he is entitled to official-act immunity in the
    cases before us, President Trump does not dispute that he
    engaged in his alleged actions up to and on January 6 in his
    capacity as a candidate. But he thinks that does not matter.
    Rather, in his view, a President’s speech on matters of public
    concern is invariably an official function, and he was engaged
    in that function when he spoke at the January 6 rally and in the
    leadup to that day. We cannot accept that rationale. While
    Presidents are often exercising official responsibilities when
    they speak on matters of public concern, that is not always the
    case. When a sitting President running for re-election speaks
    in a campaign ad or in accepting his political party’s
    nomination at the party convention, he typically speaks on
    matters of public concern. Yet he does so in an unofficial,
    private capacity as office-seeker, not an official capacity as
    office-holder. And actions taken in an unofficial capacity
    cannot qualify for official-act immunity.

         While we thus reject President Trump’s argument for
    official-act immunity at this stage, that result is necessarily tied
    to the need to assume the truth of the plaintiffs’ factual
    allegations at this point in the proceedings. President Trump
    has not had a chance to counter those allegations with facts of
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                                    6
    his own. When these cases move forward in the district court,
    he must be afforded the opportunity to develop his own facts
    on the immunity question if he desires to show that he took the
    actions alleged in the complaints in his official capacity as
    President rather than in his unofficial capacity as a candidate.
    At the appropriate time, he can move for summary judgment
    on his claim of official-act immunity.

         Because our decision is not necessarily even the final word
    on the issue of presidential immunity, we of course express no
    view on the ultimate merits of the claims against President
    Trump. Nor do we have any occasion to address his other
    defenses, including his claim that his alleged actions fall within
    the protections of the First Amendment because they did not
    amount to incitement of imminent lawless action: he did not
    seek appellate review at this time of the district court’s denial
    of his First Amendment defense, but he could bring that issue
    before us in the future. We also do not opine on whether
    executive or other privileges might shield certain evidence
    from discovery or use as the litigation proceeds. Nor does our
    decision on a President’s official-act immunity from damages
    liability in a civil suit treat with whether or when a President
    might be immune from criminal prosecution.

         Instead, we hold only that, taking the allegations in the
    plaintiffs’ complaints as true as we must at this point in the
    proceedings, President Trump has not demonstrated an
    entitlement to dismissal of the claims against him based on a
    President’s official-act immunity. In the proceedings ahead in
    the district court, President Trump will have the opportunity to
    show that his alleged actions in the runup to and on January 6
    were taken in his official capacity as President rather than in
    his unofficial capacity as presidential candidate.
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                                   7
                                   I.

                                   A.

         Because this appeal comes to us on the denial in relevant
    part of motions to dismiss, we “assume the truth of
    the . . . factual allegations” in the complaints. Clinton, 520
    U.S. at 685. We also draw from the complaints in all three
    cases consolidated before us. And because the sole question
    we consider is whether President Trump has shown that he
    should have been granted a dismissal of the claims against him
    on grounds of presidential immunity, we focus on the
    allegations about his actions (rather than those of the other
    defendants), and, in particular, on the allegations pertaining to
    his entitlement to official-act immunity.

                                   1.

         President Trump served in office from January 20, 2017
    until January 20, 2021. In 2020, he ran for re-election on the
    Republican ticket alongside then-Vice President Michael R.
    Pence. They faced the Democratic nominee, then-former Vice
    President Joseph R. Biden, Jr., and his running mate, then-
    Senator Kamala D. Harris.

         According to the complaints, President Trump began
    sowing doubt about the integrity of the 2020 presidential
    election well before the election, often via the platform then
    called Twitter, and continued to do so through Election Day.
    He posted the numerous tweets recounted in the complaints
    (and    related    here)    via    his    personal     account,
    @realDonaldTrump, to his 89 million followers. Swalwell
    Compl. ¶ 15, J.A. 74; Thompson Compl. ¶ 38, J.A. 151. In
    June 2020, for example, President Trump tweeted:
    “MILLIONS OF MAIL-IN BALLOTS WILL BE PRINTED
    BY FOREIGN COUNTRIES, AND OTHERS. IT WILL BE
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    THE SCANDAL OF OUR TIMES!” Swalwell Compl. ¶ 25,
    J.A. 76. That August, he stated that “the only way we’re going
    to lose this election is if this election is rigged.” Thompson
    Compl. ¶ 33, J.A. 150. And in October, he posted a tweet
    accusing Democrats of “trying to steal this Election.” Swalwell
    Compl. ¶ 25, J.A. 76.

          The plaintiffs allege that President Trump communicated
    the same message in the first presidential debate, in late
    September 2020, where he stated: “[t]his is going to be a fraud
    like you’ve never seen”; “[i]t’s a rigged election”; “[t]hey”—
    Democrats—“cheat”; and they “found ballots in a wastepaper
    basket three days ago, and . . . [t]hey all had the name Trump
    on them.” Blassingame Compl. ¶¶ 13–15, J.A. 22–23. The
    plaintiffs also contend that, in the same debate, President
    Trump declined to conclusively reject the idea that the election
    results might warrant a potentially violent response. When
    invited by a moderator to “urge his supporters to ‘stay calm’
    following the election, and ‘not to engage in any civil unrest,’”
    he responded: “If it’s a fair election I am 100% on board. But
    if I see tens of thousands of ballots being manipulated, I can’t
    go along with that.” Id. ¶ 15, J.A. 23.

         On Election Day, November 3, early returns showed
    President Trump leading in key states. But as states began
    processing more mail-in ballots, his lead started to dwindle.
    Swalwell Compl. ¶¶ 27–28, J.A. 76–77. Soon after midnight
    on November 4, as returns continued to come in, President
    Trump tweeted: “We are up BIG, but they are trying to STEAL
    the Election. We will never let them do it. Votes cannot be
    cast after the Polls are closed!” Blassingame Compl. ¶ 17,
    J.A. 24. The following day, President Trump reiterated his
    claims of a stolen election, tweeting: “STOP THE COUNT!”
    and “STOP THE FRAUD!” Swalwell Compl. ¶ 32, J.A. 78.
    He echoed that claim late that night, tweeting: “I easily WIN
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    the Presidency of the United States with LEGAL VOTES
    CAST. The OBSERVERS were not allowed, in any way,
    shape, or form, to do their job and therefore, votes accepted
    during this period must be determined to be ILLEGAL
    VOTES. U.S. Supreme Court should decide!” Id. ¶ 33, J.A.
    78.

                                    2.

                                    a.

         On November 7, all major U.S. news outlets projected that
    then-former Vice President Biden and then-Senator Harris
    would win the election. Blassingame Compl. ¶ 20, J.A. 25.
    President Trump did not concede. Rather, over the ensuing
    weeks, he continued to assert that the election had been stolen.
    Id. ¶ 21, J.A. 25. For example, he tweeted that Democrats had
    “so blatantly cheat[ed] in their attempt to steal the election,
    which we won overwhelmingly.” Swalwell Compl. ¶ 36,
    J.A. 80.

         President Trump also attempted to alter the declared
    election results by various means. According to the plaintiffs,
    those efforts sought to further the sense among his supporters
    that the election had been stolen. Thompson Compl. ¶ 34, J.A.
    151. For instance, President Trump and his allies filed 62
    lawsuits in state and federal courts around the country that
    sought, on various theories, to overturn the results in key states.
    Swalwell Compl. ¶ 60, J.A. 85; Thompson Compl. ¶ 36, J.A.
    151. “Virtually all [of] th[e] lawsuits were rejected outright.”
    Swalwell Compl. ¶ 61, J.A. 86; see also Blassingame Compl.
    ¶ 21, J.A. 25. In addition, President Trump tried to persuade
    state and local officials in Michigan, Pennsylvania, and
    Georgia to use their offices to change the declared results in
    their jurisdictions. Swalwell Compl. ¶¶ 37–55, J.A. 80–84;
    Thompson Compl. ¶¶ 46–52, J.A. 153–54.
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                                  10
                                   b.

         When members of the Electoral College met in their
    respective states on December 14, they collectively cast 306
    electoral votes for then-President-elect Biden and 232 electoral
    votes for President Trump. According to the complaints,
    President Trump then began focusing his efforts on Congress,
    which was set to meet on January 6 to officially tabulate
    electoral votes and declare the next President pursuant to the
    Electoral Count Act, 3 U.S.C. §§ 1–22. Blassingame Compl.
    ¶ 30, J.A. 29; Thompson Compl. ¶ 55, J.A. 155.

         On December 19, President Trump posted a tweet
    referencing a report “alleging election fraud ‘more than
    sufficient’ to swing victory to Trump.” Swalwell Compl. ¶ 86,
    J.A. 92. President Trump stated that it was “[s]tatistically
    impossible” for him “to have lost the 2020 Election.” Id. He
    added that there would be a “[b]ig protest in D.C. on January
    6th,” and he called on his supporters to attend: “Be there, will
    be wild!” Id. A week later, President Trump again promoted
    the planned protest via Twitter, this time asserting that the
    Department of Justice and the FBI had “done nothing about the
    2020 Presidential Election Voter Fraud, the biggest SCAM in
    our nation’s history, despite overwhelming evidence. They
    should be ashamed. History will remember. Never give up.
    See everyone in D.C. on January 6th.” Id. ¶ 56, J.A. 84.

        Meanwhile, plans for the January 6 event, which became
    known as the “Save America” rally, took shape. According to
    the complaints, the rally’s organizers—including the group
    Women for America First, at least one Trump campaign staff
    member, and a Trump campaign fundraiser—secured a permit
    to hold the event at the Ellipse, a large lawn just south of the
    White House. Blassingame Compl. ¶ 59, J.A. 38; Swalwell
    Compl. ¶¶ 97, 103, J.A. 98–99; Thompson Compl. ¶ 69, J.A.
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    159. The permit listed the Trump campaign’s director of
    finance operations as the rally’s “VIP Lead,” and named Event
    Strategies Inc.—which received payments from President
    Trump’s campaign roughly three weeks before January 6—as
    the event’s production vendor. Blassingame Compl. ¶ 31,
    J.A. 29; Swalwell Compl. ¶ 97, J.A. 98; Thompson Compl.
    ¶ 68, J.A. 159.

         More generally, the complaints allege that the Save
    America rally was privately funded and that the Trump
    campaign or persons associated with it were involved in
    organizing and funding it, although there is some variation
    among the complaints on the particulars. According to one
    complaint, the rally “was a private event, organized in part by
    [President] Trump’s former campaign staff” and “arranged and
    funded by a small group including a top Trump campaign
    fundraiser and donor.” Blassingame Compl. ¶ 59, J.A. 38
    (internal quotation marks omitted). Another complaint alleges
    that the Trump campaign itself funded the rally. See Swalwell
    Compl. ¶ 97, J.A. 98. And the third complaint contends that “a
    top Trump campaign fundraiser oversaw the logistics,
    budgeting, funding and messaging” for the rally. Thompson
    Compl. ¶ 68, J.A. 159. One of the complaints also alleges that
    President Trump participated in planning the rally, including
    by weighing in on the speaker lineup and music selection. Id.
    ¶ 69, J.A. 159.

         The complaints also describe President Trump’s
    promotion of the rally via Twitter in the immediate leadup to
    the event. See Blassingame Compl. ¶¶ 36, 38, J.A. 32–34;
    Swalwell Compl. ¶¶ 57, 98–99, J.A. 84–85, 98. He reiterated
    his claims of election fraud on January 5, saying: “Washington
    is being inundated with people who don’t want to see an
    election victory stolen by emboldened Radical Left
    Democrats.” Swalwell Compl. ¶ 57, J.A. 85. He also
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                                    12
    repeatedly emphasized Vice President Pence’s role in the
    counting of electoral votes. See U.S. Const. art. I, § 3, cl. 4; id.
    amend. XII; 3 U.S.C. §§ 11, 15–18. The night before the rally,
    for instance, President Trump tweeted: “Many States want to
    decertify the mistake they made in certifying incorrect & even
    fraudulent numbers in a process NOT approved by their State
    Legislatures (which it must be). Mike [Pence] can send it
    back!” Swalwell Compl. ¶ 98, J.A. 98.

                                     c.

         The Save America rally began at 7:00 AM on January 6 at
    the Ellipse. Blassingame Compl. ¶ 58, J.A. 37. For several
    hours, a slew of prominent supporters of President Trump gave
    speeches decrying election fraud and demanding corrective
    action. Swalwell Compl. ¶¶ 101–20, J.A. 99–102.

         President Trump was the final speaker. He took the stage
    at around noon and spoke for roughly 75 minutes. Id. ¶ 121,
    J.A. 102. Although the complaints do not contain the full text
    of his speech, they quote liberally from it, and the district court
    “considered it in its entirety, analyzing it beyond the words
    quoted in the Complaints.” Thompson v. Trump, 590
    F. Supp. 3d 46, 83 (D.D.C. 2022); e.g., Blassingame Compl. ¶¶
    60, 220, J.A. 38, 65; Swalwell Compl. ¶¶ 3, 121–28, 181, 211,
    J.A. 71, 102–03, 118–19, 124–25; Thompson Compl. ¶¶ 82–
    89, J.A. 162–65. The parties have thus treated the full speech
    as incorporated into the complaints, and we will do the same.
    See Banneker Ventures, LLC v. Graham, 798 F.3d 1119, 1133
    (D.C. Cir. 2015). (A full transcript of President Trump’s
    speech is available at Read: Former President Donald Trump’s
    January 6 Speech, CNN (Feb. 8, 2021, 6:16 PM), https://www
    .cnn.com/2021/02/08/politics/trump-january-6-speech-
    transcript/index.html [https://perma.cc/MY5A-5UYH])
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                                   13
         At the outset of his speech, President Trump proclaimed
    that “[a]ll of us here today do not want to see our election
    victory stolen by emboldened radical left Democrats, which is
    what they’re doing, and stolen by the fake news media. That’s
    what they’ve done and what they’re doing. We will never give
    up. We will never concede. It doesn’t happen. You don’t
    concede when there’s theft involved.” He then proceeded to
    allege election fraud in various battleground states and to call
    on Republicans in Congress and Vice President Pence to “do
    the right thing” and to send the election back to the states. He
    alleged that there had been “fraud on a scale never seen
    before,” and detailed, at length, allegations of fraud in several
    battleground states won by then-President-elect Biden. He
    urged that “[w]e’re going to have to fight much harder and
    Mike Pence is going to have to come through for us.”

         Throughout his remarks, President Trump enlisted his
    supporters in his self-described effort to “stop the steal.” Near
    the outset of his speech, he stated that “[w]e have come to
    demand that Congress do the right thing and only count the
    electors who have been lawfully slated . . . . I know that
    everyone here will soon be marching over to the Capitol
    building to peacefully and patriotically make your voices
    heard.” Later, he said that “[w]hen you catch somebody in a
    fraud, you’re allowed to go by very different rules.”

         At one point near the end of his speech, President Trump
    briefly turned from alleging fraud and “challenging the
    certification of the election” to “calling on Congress and the
    state legislatures to quickly pass sweeping election reforms.”
    He said that “[w]e must stop the steal and then we must ensure
    that such outrageous election fraud never happens again,” and,
    in the latter connection, he listed numerous policy proposals
    achievable “[w]ith your help.” Many of the proposals
    concerned the conduct of elections: adopting “powerful
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                                   14
    requirements for voter ID”; requiring “proof of American
    citizenship in order to vote in American elections”; banning
    “ballot harvesting,” “the use of unsecured drop boxes to
    commit rampant fraud,” and “universal, unsolicited mail-in
    balloting”; and restoring “the vital civic tradition of in-person
    voting on Election Day.”

         At the close of his remarks, President Trump reiterated:
    “Something’s wrong here. Something’s really wrong. Can’t
    have happened. And we fight. We fight like hell and if you
    don’t fight like hell, you’re not going to have a country
    anymore.” He then ended his speech by saying: “So, we’re
    going to, we’re going to walk down Pennsylvania
    Avenue . . . and we’re going to the Capitol, and we’re going to
    try and give—the Democrats are hopeless. They’re never
    voting for anything . . . . But we’re going to try to give our
    Republicans, the weak ones, because the strong ones don’t
    need any of our help, we’re going to try and give them the kind
    of pride and boldness that they need to take back our country.
    So, let’s walk down Pennsylvania Avenue. I want to thank you
    all. God bless you and God bless America.”

                                   d.

         By 12:53 PM—as President Trump was still speaking at
    the Ellipse—a crowd had formed at the Capitol, and members
    of the crowd broke through the outer security barriers.
    Blassingame Compl. ¶¶ 65–66, J.A. 39–40; Swalwell Compl.
    ¶ 129, J.A. 104; Thompson Compl. ¶¶ 94–99, J.A. 166–67.
    They were soon joined by people who had made their way from
    the Ellipse to the Capitol after President Trump finished his
    speech. Thompson Compl. ¶¶ 100–01, J.A. 167. President
    Trump returned to the White House, where he watched
    television coverage of the events unfolding at the Capitol.
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    Blassingame Compl. ¶¶ 79, 94, J.A. 42, 44–45; Thompson
    Compl. ¶ 106, J.A. 168.

         Members of the crowd overcame Capitol Police officers,
    some of whom were injured while defending the Capitol from
    the rioters’ advance. Among those injured was plaintiff Sidney
    Hemby, who was crushed against doors on the east side of the
    Capitol, struck with fists and various objects, and sprayed with
    chemicals. Blassingame Compl. ¶¶ 83–89, 138–44, J.A. 43–
    44, 52. After rioters went inside the building, Capitol Police
    announced a full lockdown of the Capitol, and both houses of
    Congress stopped counting Electoral Votes and called recesses.
    See id. ¶ 92, J.A. 44; Swalwell Compl. ¶ 137, J.A. 106.

         At 2:24 PM, shortly after his supporters breached the
    Capitol, President Trump tweeted: “Mike Pence didn’t have
    the courage to do what should have been done to protect our
    Country and our Constitution, giving States a chance to certify
    a corrected set of facts, not the fraudulent or inaccurate ones
    which they were asked to previously certify. USA demands the
    truth!” Swalwell Compl. ¶ 138, J.A. 107. Fourteen minutes
    later, he added: “Please support our Capitol Police and Law
    Enforcement. They are truly on the side of our Country. Stay
    peaceful!” Blassingame Compl. ¶ 118, J.A. 48.

         Inside the Capitol, some lawmakers, including some of the
    plaintiffs in these cases, became trapped inside the chambers as
    rioters advanced. Swalwell Compl. ¶¶ 9–11, 137, J.A. 72–73,
    106; Thompson Compl. ¶¶ 182–83, J.A. 183. Capitol Police
    officers held off the rioters at gunpoint, deployed tear gas, and
    told the trapped lawmakers to put on gas masks. Swalwell
    Compl. ¶¶ 137, 233, J.A. 106, 129; Thompson Compl. ¶ 175,
    J.A. 181. One floor below, in the Capitol Crypt, a group of
    Capitol Police officers, including plaintiff James Blassingame,
    attempted to fend off another group of rioters. The rioters
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    struck Officer Blassingame with fists and weapons and
    subjected him to racial epithets and threats. Blassingame
    Compl. ¶¶ 95–113, J.A. 45–47.

         At 4:17 PM, President Trump posted on Twitter a recorded
    video statement in which he directed the rioters to go home.
    Swalwell Compl. ¶ 147, J.A. 108–09. He also repeated his
    claim that the election had been stolen and added: “I know
    your pain, I know you’re hurt. . . . We love you. You’re very
    special.” Id., J.A. 109. And at 6:01 PM, after Capitol Police
    began clearing the building, President Trump tweeted: “These
    are the things and events that happen when a sacred landslide
    election victory is so unceremoniously & viciously stripped
    away from great patriots who have been badly & unfairly
    treated for so long. Go home with love & in peace. Remember
    this day forever!” Id. ¶ 150, J.A. 109–10.

        The riot resulted in injuries to 140 police officers and
    claimed several lives. Id. ¶ 149, J.A. 109. Two weeks later, on
    January 20, then-President-elect Biden and then-Vice
    President-elect Harris took office.

                                  B.

                                  1.

         The three cases consolidated in this appeal involve
    complaints brought against President Trump and others in
    connection with the January 6 riot. The plaintiffs are Capitol
    Police officers and members of Congress who were at the
    Capitol that day. They seek recovery for physical injuries and
    emotional distress arising from the riot. Blassingame Compl.
    ¶¶ 150–228, J.A. 55–67; Swalwell Compl. ¶¶ 224–26,
    J.A. 127; Thompson Compl. ¶¶ 151–267, J.A. 178–200. As
    relief, they ask for damages (and other remedies), including
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    from President Trump. Blassingame Compl., J.A. 67–68;
    Swalwell Compl., J.A. 132–33; Thompson Compl., J.A. 201.

         The plaintiffs sue President Trump in his personal
    capacity. Blassingame Compl. ¶ 40, J.A. 34; Swalwell Compl.,
    J.A. 70; Thompson Compl., J.A. 136. Each of the complaints
    alleges that “[a]ll his conduct inciting his followers” as
    described in the complaints “was conducted in his personal
    capacity as a candidate for elected office, not in any official
    capacity as President.” Blassingame Compl. ¶ 40, J.A. 34; see
    Swalwell Compl. ¶¶ 15, 152, J.A. 74, 110; Thompson Compl.
    ¶¶ 22, 263, J.A. 146, 200. “For example,” one complaint
    elaborates, President Trump “tweeted from his personal
    Twitter account (@realDonaldTrump) and not from the
    official, White House, [T]witter account, and he spoke at the
    January 6 rally in his capacity as a losing candidate for the
    Presidency.” Swalwell Compl. ¶ 15, J.A. 74; see Blassingame
    Compl. ¶ 18, J.A. 24; Thompson Compl. ¶ 22, J.A. 146.

         Each of the complaints asserts a claim against President
    Trump under 42 U.S.C. § 1985, which prohibits conspiring to
    prevent anyone from holding a federal office or from
    performing the duties of a federal office. Blassingame Compl.
    ¶¶ 213–24, J.A. 63–67;      Swalwell      Compl.    ¶¶ 166–84,
    J.A. 114–19; Thompson Compl. ¶¶ 259–67, J.A. 199–200.
    The Section 1985 claims are generally based on the contention
    that President Trump engaged with others in a plan to prevent
    Congress from discharging its duty to count electoral votes and
    to prevent then-President-elect Biden and then-Vice-President-
    elect Harris from assuming office. Two of the complaints
    include various claims against President Trump under District
    of Columbia law. Blassingame Compl. ¶¶ 150–212, 225–28,
    J.A. 55–63, 67; Swalwell Compl. ¶¶ 192–261, J.A. 120–32.
    And one of the complaints contains a claim against President
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    Trump under 42 U.S.C. § 1986 for failing to stop the riot after
    it started. Swalwell Compl. ¶¶ 185–91, J.A. 119–20.

                                    2.

         President Trump moved to dismiss the claims against him
    on various grounds. Of principal relevance, he argued that he
    is entitled to official-act immunity under Nixon v. Fitzgerald,
    457 U.S. 731 (1982), as to all the claims against him.

         The district court largely rejected President Trump’s claim
    of immunity. It reasoned that President Trump’s alleged acts—
    his tweets alleging fraud in the election, his efforts to persuade
    state and local officials to change election outcomes, his
    lawsuits challenging the election results, his participation in the
    planning of the January 6 rally, and his speech at that rally—
    were aimed at remaining in office for a second term, which, to
    the court, was not an official function of the presidency.
    Thompson, 590 F. Supp. 3d at 82–84. The court, however,
    granted President Trump immunity as to the claim under 42
    U.S.C. § 1986 for failing to stop the riot. That claim, the court
    held, sought to hold President Trump liable for failing to
    exercise his official presidential powers and so fell within his
    official-act immunity. Id. at 84–85.

         Beyond asserting official-act immunity, President Trump
    also sought dismissal of the claims against him on the ground
    that they seek to hold him liable for speech protected by the
    First Amendment. The district court rejected that argument.
    The court held that President Trump’s speech at the January 6
    rally lay beyond the protection of the First Amendment because
    it amounted to incitement of imminent lawless action. Id. at
    115–18; see Brandenburg v. Ohio, 395 U.S. 444 (1969).
    President Trump did not attempt to appeal the district court’s
    denial of his First Amendment defense at this stage, see 28
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    U.S.C. § 1292(b), so his potential entitlement to a dismissal on
    First Amendment grounds is not before us in this appeal.

        The district court dismissed several of the claims brought
    under District of Columbia law as inadequately pleaded on the
    merits. Thompson, 590 F. Supp. 3d at 121–22, 124–25, 126.
    But it held that the plaintiffs had plausibly alleged that
    President Trump had violated Section 1985 and so allowed the
    Section 1985 claims against President Trump to proceed. Id.
    at 101–05. And the court reached the same conclusion as to
    some of the claims under District of Columbia law. Id. at 119–
    21, 122–24, 125. Those claims against President Trump thus
    remain live and await resolution.

                                   II.

         President Trump appeals the district court’s denial of his
    claim of official-act immunity. That is the sole issue before us.
    While the denial of a motion to dismiss ordinarily is not
    immediately appealable, an order denying a claim of official
    immunity is an immediately appealable collateral order. See
    Nixon, 457 U.S. at 742–43. In considering President Trump’s
    claim of immunity, we review the “district court’s legal
    determinations de novo and assume the truth of the [plaintiffs’]
    material factual allegations.” Blumenthal v. Trump, 949 F.3d
    14, 18 (D.C. Cir. 2020); see also Clinton, 520 U.S. at 685.

                                   A.

         The Supreme Court’s decisions in Nixon v. Fitzgerald and
    Clinton v. Jones establish the basic framework for our analysis.
    In Nixon, A. Ernest Fitzgerald sought civil damages from
    President Richard M. Nixon and other officials for allegedly
    eliminating his job at the Department of the Air Force in
    retaliation for unflattering congressional testimony he had
    provided about his superiors. 457 U.S. at 734, 739. The Court
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    concluded that President Nixon, “as a former President of the
    United States, [wa]s entitled to absolute immunity from
    damages liability predicated on his official acts.” Id. at 749.
    Such immunity, the Court said, is a “functionally mandated
    incident of the President’s unique office, rooted in the
    constitutional tradition of the separation of powers and
    supported by our history.” Id.

         The presidential-immunity doctrine articulated in Nixon is
    capacious by design. In pre-Nixon official-immunity cases
    involving other officials, the Court had employed a
    “‘functional’ approach” under which, for most officials, “the
    scope of the [immunity] defense varied in proportion to the
    nature of [the officials’] official functions and the range of
    decisions that conceivably might be taken in ‘good faith.’” Id.
    at 746 (discussing Scheuer v. Rhodes, 416 U.S. 232, 247
    (1974)); see also id. at 755. But the President, the Nixon Court
    explained, “occupies a unique position in the constitutional
    scheme.” Id. at 749. As the embodiment of the executive
    branch, he “must make the most sensitive and far-reaching
    decisions entrusted to any official under our constitutional
    system.” Id. at 752. The principal rationale for official
    immunity—“providing an official ‘the maximum ability to deal
    fearlessly and impartially with’ the duties of his office”—thus
    applies to the President with pronounced force. Id. (quoting
    Ferri v. Ackerman, 444 U.S. 193, 203 (1979)). For that reason,
    the Court found it “appropriate to recognize absolute
    Presidential immunity from damages liability for acts within
    the ‘outer perimeter’ of his official responsibility.” Id. at 756.

         The decisions from which Nixon drew the outer-perimeter
    test make evident that a President’s official responsibilities
    encompass more than just those acts falling within the office’s
    express “constitutional and statutory authority.” Id. at 757.
    Official responsibilities also include “discretionary acts”
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    within the “concept of duty” associated with the office. Barr
    v. Matteo, 360 U.S. 564, 575 (1959) (plurality opinion). Put
    somewhat differently: an act lies within the outer perimeter of
    an official’s duties if it is “the kind of act not manifestly or
    palpably beyond [the official’s] authority, but rather having
    more or less connection with the general matters committed by
    law to his control or supervision.” Martin v. D.C. Metro.
    Police Dep’t, 812 F.2d 1425, 1429 (D.C. Cir. 1987), overruled
    on other grounds by Crawford-El v. Britton, 93 F.3d 813 (D.C.
    Cir. 1996) (en banc), rev’d 523 U.S. 574 (1998) (quoting
    Briggs v. Goodwin, 569 F.2d 10, 16 (D.C. Cir. 1977)); accord
    Spalding v. Vilas, 161 U.S. 483, 498–99 (1896).

         Applying the outer-perimeter test to President Nixon’s
    alleged conduct, the Nixon Court had little trouble holding that
    President Nixon was entitled to official immunity. See 457
    U.S. at 756–57. President Nixon, the Court reasoned, had the
    “constitutional and statutory authority to prescribe the manner
    in which the Secretary will conduct the business of the Air
    Force,” including by “prescrib[ing] reorganizations and
    reductions in force.” Id. at 757. The Court reached that
    conclusion notwithstanding Fitzgerald’s contentions that his
    dismissal had been retaliatory and that “no federal official
    could, within the outer perimeter of his duties of office,”
    dismiss Fitzgerald without satisfying the applicable for-cause
    removal standard “in prescribed statutory proceedings.” Id. at
    756. Denying immunity on those grounds, the Court explained,
    would require a “highly intrusive” examination of “the
    President’s motives” and “subject the President to trial on
    virtually every allegation that an action was unlawful, or was
    taken for a forbidden purpose.” Id. Doing so would therefore
    “deprive absolute immunity of its intended effect.” Id.

         The Court revisited a President’s official-act immunity
    fifteen years later in Clinton, its most recent case on the subject.
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    In that case, Paula Jones sought civil damages from President
    William J. Clinton. 520 U.S. at 684–85. She alleged that
    President Clinton, while serving as Governor of Arkansas, had
    made unwelcome sexual advances towards her and then
    retaliated against and later defamed her for rejecting his
    advances. Id. at 685. President Clinton moved to dismiss,
    arguing that as President, he was entitled to temporary
    immunity from the lawsuit until after his presidency. Id. at
    686–87. The Court disagreed, reasoning that President
    Clinton’s alleged actions—with the potential exception of
    allegedly defamatory statements made after he became
    President, see id. at 686 & n.3—were “unrelated to any of his
    official duties as President of the United States and, indeed,
    occurred before he was elected to that office,” id. at 686.

         Clinton confirmed that the absolute presidential immunity
    recognized in Nixon is an “official immunity,” that extends no
    further than the outer perimeter of a President’s official
    responsibility. Id. at 693–94 (quoting Ferri, 444 U.S. at 203).
    That is because the primary justification for affording the
    President official-act immunity from civil damages liability—
    “enabling [him] to perform [his] designated functions
    effectively without fear that a particular decision may give rise
    to personal liability”—provides “no support for an immunity
    for unofficial conduct.” Id. at 692–94. To the contrary, an
    immunity for unofficial acts would be “grounded purely in the
    identity of [the President’s] office,” id. at 695, contravening the
    settled understanding that immunity is based on “the nature of
    the function performed, not the identity of the actor who
    performed it,” id. (quoting Forrester v. White, 484 U.S. 219,
    229 (1988)). Because Jones’s allegations involved President
    Clinton’s “purely private acts” rather than “acts taken in his
    public character,” he was not entitled to official immunity,
    even on a temporary basis. Id. at 696 (internal quotation marks
    and citation omitted).
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         Together, Nixon and Clinton establish three governing
    principles. First, the President is entitled to official immunity
    from civil damages liability based on actions within the “outer
    perimeter” of official presidential responsibility, including
    discretionary acts within the concept of duty associated with
    the presidency. Second, the President is subject to civil
    damages suits based on actions taken in an unofficial, private
    capacity to the same extent as any private citizen. And third,
    the President’s actions do not fall beyond the outer perimeter
    of official responsibility merely because they are unlawful or
    taken for a forbidden purpose. Rather, the President’s official
    immunity insulates all of his official actions from civil
    damages liability, regardless of their legality or his motives.

                                   B.

         President Trump maintains that his actions as alleged in
    the complaints fall within the outer perimeter of official
    presidential responsibility, entitling him to official-act
    immunity as to all the claims against him. His primary
    argument is that his alleged actions leading up to and on
    January 6 were official presidential actions because they
    amounted to speech on matters of public concern. In the
    alternative, he submits that those actions were official because
    they came within his constitutional duty under the Take Care
    Clause. We are unpersuaded by either argument.

                                   1.

         We begin with President Trump’s principal contention:
    that a President enjoys absolute immunity from civil damages
    liability whenever he speaks on matters of public concern.
    Without reaching the question whether all of President
    Trump’s pertinent actions alleged in the complaints in fact
    involved speech on matters of public concern, we reject his
    submission that such speech invariably counts as official
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    activity. To endorse that argument would be to establish “an
    immunity from suit for unofficial acts grounded purely in the
    identity of [the President’s] office.” Clinton, 520 U.S. at 695.
    The salient question in the cases before us is whether President
    Trump took the actions alleged in the complaints in his official
    capacity or instead in his private capacity. The question
    whether those actions involved speech on matters of public
    concern bears no inherent connection to the essential
    distinction between official and unofficial acts.

                                    a.

         The most basic premise of President Trump’s argument—
    that speaking on matters of public concern is something
    Presidents regularly do in the exercise of official
    responsibilities—is incontestable. “The President of the
    United States possesses an extraordinary power to speak to his
    fellow citizens and on their behalf.” Trump v. Hawaii, 138
    S. Ct. 2392, 2417–18 (2018). That power—famously labeled
    the presidential “bully pulpit” by Theodore Roosevelt—is an
    everyday tool of the presidency. And many uses of the
    presidential bully pulpit fall comfortably “within the ‘outer
    perimeter’ of [the President’s] official responsibility.” Nixon,
    457 U.S. at 756.

         True, there is no Bully Pulpit Clause in the Constitution.
    But as we have explained, the outer perimeter of official
    responsibility extends beyond a President’s expressly
    enumerated powers to encompass “discretionary acts” within
    the “concept of duty” associated with the office. Barr, 360 U.S.
    at 575 (plurality opinion). The President thus acts within the
    outer perimeter of his official functions when he announces his
    intention to issue an executive order, eulogizes the fallen leader
    of an ally, or offers the nation’s condolences and support to a
    community reeling from a tragedy.
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                                   25
        President     Trump’s argument,           though,     reaches
    considerably further: he insists that all of a President’s speech
    on matters of public concern, as a categorical rule, is an
    exercise of official presidential responsibility. That is a
    sweeping proposition, and one that ultimately sweeps too far.
    The notion that speech must relate to a matter of public concern
    does not rule out much when the speaker is the President. “In
    view of the visibility of his office and the effect of his actions
    on countless people,” Nixon, 457 U.S. at 753, a great deal of
    what the President does or speaks about becomes a matter of
    public concern merely by virtue of the identity of his office,
    even if it would not amount to a matter of public concern if
    performed or said by someone else.

         To see how far a public-concern test reaches, consider
    initially an example involving conduct alone rather than
    speech—in particular, sexual misconduct. Such conduct, as
    President Trump concedes, is presumably of a “manifestly
    private nature,” undertaken in a private, unofficial capacity.
    Trump Reply Br. 12; see also Clinton, 520 U.S. at 686. Yet
    alleged sexual misconduct involving the President is also
    plainly “a subject of legitimate news interest; that is, a subject
    of general interest and of value and concern to the public.”
    Snyder v. Phelps, 562 U.S. 443, 453 (2011) (quoting City of
    San Diego v. Roe, 543 U.S. 77, 83–84 (2004) (per curiam)). To
    immunize a President from civil damages liability for alleged
    sexual misconduct during his presidency just because the
    conduct is a matter of public concern, then, would be to
    “construct an immunity from suit for unofficial acts grounded
    purely in the identity of his office.” Clinton, 520 U.S. at 695.

        President Trump’s proposed public-concern test would
    unduly broaden official-act immunity in much the same way
    for presidential speech. The Supreme Court has “never
    suggested that the President . . . has an immunity that extends
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    beyond the scope of any action taken in an official capacity.”
    Id. at 694. President Trump’s public-concern standard, though,
    would do just that. When the speaker is the President, speech
    undertaken in a plainly and purely unofficial capacity will often
    involve a matter of public concern. Yet President Trump’s test
    would still grant immunity in that circumstance, even though
    there is “no support for an immunity for unofficial conduct” (or
    speech). Id.

         As an example, consider a situation directly germane to the
    cases before us in which President Trump publicly volunteered
    that he was acting—and speaking—in an unofficial, private
    capacity. In the period after the 2020 election and before
    January 6, the Supreme Court considered an effort by Texas to
    challenge the administration of the election in several
    battleground states in which then-President-elect Biden had
    been declared the winner. Texas v. Pennsylvania, No. 22O155
    (U.S. 2020). President Trump moved to intervene in the case.
    In doing so, he specifically explained to the Supreme Court
    (and captioned his filing accordingly) that he sought to
    “intervene in this matter in his personal capacity as a candidate
    for re-election to the office of President of the United States.”
    Motion of Donald J. Trump, President of the United States, to
    Intervene in his Personal Capacity as Candidate for Re-
    Election, Proposed Bill of Complaint in Intervention, and Brief
    in Support of Motion to Intervene 14, Texas v. Pennsylvania,
    No. 22O155 (U.S. Dec. 9, 2020) (Trump Mot. to Intervene).
    He relatedly elaborated that he wished “to intervene to protect
    his unique and substantial personal interests as a candidate for
    re-election to the Office of President.” Id. at 24.

         President Trump, then, affirmatively communicated to the
    Supreme Court (and the public) that he was acting and speaking
    in that matter in his “personal capacity” as a candidate for re-
    election—indeed, he explained that his reason for wanting to
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    participate in the case was a “substantial personal” one rather
    than an official one. That stands in sharp contrast with other
    cases in which he—like all Presidents—had filed briefs in the
    Supreme Court in his “official capacity as President of the
    United States.” See, e.g., Brief for the Petitioners at II, Trump
    v. Hawaii, 138 S. Ct. 2392 (No. 17-965). But while President
    Trump’s effort to participate in Texas v. Pennsylvania was
    made in an expressly and self-consciously personal, unofficial
    capacity, the content of his speech in his submission
    undoubtedly involved a matter of significant public concern:
    his challenge to the election results in various pivotal states,
    whose “electors [would] determine the outcome of the
    election.” Trump Mot. to Intervene 27.

         As that example illustrates, an immunity for all
    presidential speech on matters of public concern—without
    regard to the context in which the President speaks—would be
    grounded purely in “the identity of the actor who performed it”
    rather than “the nature of the function performed.” Clinton,
    520 U.S. at 695 (quoting Forrester, 484 U.S. at 229). Such a
    result is “unsupported by precedent.” Id. And it is unsupported
    by the basic object of granting a President official-act
    immunity: assuring that the President is not “unduly cautious
    in the discharge of his official duties.” Id. at 694 (emphasis
    added) (quoting Nixon, 457 U.S. at 752 n.32). That concern
    necessarily has no salience when the President acts—by his
    own admission—in an unofficial, private capacity.

                                   b.

        As President Trump’s intervention motion in Texas v.
    Pennsylvania highlights, whether the President speaks (or
    engages in conduct) on a matter of public concern bears no
    necessary correlation with whether he speaks (or engages in
    conduct) in his official or personal capacity. And because it is
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    the latter question that governs the availability of presidential
    immunity—as a matter both of precedent and of the essential
    nature of an immunity for (and only for) official acts—we must
    reject President Trump’s proposed public-concern test as ill-
    suited to the inquiry.

         President Trump’s intervention motion is telling in a
    related respect as well, which pertains to identifying when a
    President acts in an official or private capacity in the specific
    circumstances of the cases before us. The motion expressly
    recognizes, as we hold today, that when a sitting President acts
    as a “candidate for re-election,” he does so in his “personal
    capacity,” not in an official capacity. Trump Mot. to Intervene
    14. Otherwise said, a sitting President, just like the candidates
    he runs against, is subject to civil damages liability for his
    actions constituting re-election campaign activity.

         The principle that an incumbent President seeks re-
    election in his private capacity rather than in his official
    capacity finds its roots in the Framing. Madison explained that
    “[a] dependence on the people is no doubt the primary controul
    on the government.” The Federalist No. 51, at 349 (James
    Madison) (Jacob E. Cooke ed., 1961). To that end, the Framers
    “render[ed] the President directly accountable to the people
    through regular elections.” Seila Law LLC v. CFPB , 140 S. Ct.
    2183, 2203 (2020). And “every practicable obstacle” was
    imposed to prevent “cabal, intrigue and corruption” from
    giving an incumbent President a structural electoral
    advantage—including the exclusion from service in the
    Electoral College of “all those who from situation might be
    suspected of too great devotion to the president in office.” The
    Federalist No. 68, supra, at 459 (Alexander Hamilton); see also
    U.S. Const. art. II, § 1, cl. 2.
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         The essence of those Framing-era principles, in the words
    of Chief Justice Marshall, is that “the president is elected from
    the mass of the people, and, on the expiration of the time for
    which he is elected, returns to the mass of the people again.”
    United States v. Burr, 25 F. Cas. 30, 34 (C.C.D. Va. 1807)
    (Marshall, Circuit Justice). That fundamental understanding
    holds regardless of whether the person elected to serve as the
    next President also happens to be the incumbent. A sitting
    President has no inherently greater claim to serving the next
    four-year term than does any other candidate. And if an
    incumbent President seeks and ultimately wins re-election, he
    does so in the same manner as anyone else vying for the office:
    he “is elected from the mass of the people.” Id.

         It follows that, when a sitting President acts in his capacity
    as a candidate for re-election, he acts as office-seeker, not
    office-holder. The presidency itself has no institutional interest
    in who will occupy the office next. Campaigning to attain that
    office thus is not an official function of the office. Rather, an
    incumbent President’s interests in winning re-election have the
    same purely private character as those of his challengers—i.e.,
    “substantial personal interests as a candidate” to attain (or
    retain) the office. Trump Mot. to Intervene 24. Accordingly,
    a President acts in a private, unofficial capacity when engaged
    in re-election campaign activity.

         The executive branch’s own views and practice reinforce
    the point. In 1982, just a few months before the Supreme Court
    decided Nixon, the Department of Justice’s Office of Legal
    Counsel (OLC) advised President Reagan that “funds
    appropriated for the official functioning of the offices of the
    President and the Vice President may be used for travel
    expenses only if the travel is reasonably related to an official
    purpose,” and that “appropriated funds” thus “should not be
    used to pay for political events.” Payment of Expenses
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    Associated with Travel by the President and Vice President, 6
    Op. O.L.C. 214, 215–16 (1982). Political events, OLC
    reasoned, generally have “no reasonable connection” to the
    “official purposes” served by appropriated funds. Id. at 216.
    “As a general rule,” moreover, “Presidential and Vice
    Presidential travel should be considered ‘political’ if its
    primary purpose involves their positions as leaders of their
    political party”—as would be the case with “[a]ppearing at
    party functions, fundraising, and campaigning for specific
    candidates,” of course including for oneself. Id. at 217 (citation
    omitted).

         The executive branch itself thus considers its own chief
    office-holder’s campaign for re-election to lie well outside his
    official functions. A contrary conclusion would grant a sitting
    President immunity based “purely in the identity of his office,”
    improperly treating his efforts to gain the office for a second
    term as an official act of the office. Clinton, 520 U.S. at 695.

         Compare, for instance, a former one-term President who
    runs to regain the presidency for a second, non-consecutive
    term with a current one-term President who runs to retain office
    for a second straight term. Whether a one-term President runs
    to regain the office or to retain it, the object is the same: to
    serve (again) as President in the next term. And with respect
    to their campaign-related activity to attain that objective, there
    is no basis for cloaking a sitting President running for the office
    with an immunity—and resulting advantage—that a former
    President running for the office would lack. Both act in their
    “personal capacity as a candidate for re-election to the office of
    President.” Trump Mot. to Intervene 14. President Trump’s
    proposed public-concern standard, though, would treat them
    differently: the sitting President would enjoy absolute
    immunity for all speech on a matter of public concern, even
    purely campaign speech given strictly in his capacity as
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    candidate, whereas the former President would get no
    immunity for precisely the same campaign speech.

          Consider, for example, a speech at a political party’s
    convention accepting the party’s nomination as its candidate
    for President. Such a speech is inherently given in the
    nominee’s private capacity as office-seeker. That is no less
    true when the party’s nominee is the sitting President: a sitting
    President gives the acceptance speech at his party’s convention
    only if he seeks and wins the party’s nomination—or else some
    other person will give the same speech. In that situation, then,
    the President speaks in an unofficial, private capacity.
    Applying the executive branch’s longtime understanding: if a
    sitting President running for re-election gives an acceptance
    speech at the party’s convention, that presumably counts as
    “[a]ppearing at [a] party function[]” and is unofficial activity
    in the executive branch’s own view. Payment of Expenses, 6
    Op. O.L.C. at 217 (citation omitted). But because an
    acceptance speech at a party convention will also surely
    address matters of public concern, President Trump’s proposed
    approach would nonetheless grant a sitting President immunity
    for it. A former President, though, would not get the same
    favorable treatment for the same speech, nor would any other
    candidate. President Trump’s approach thus would attach
    official-act immunity to the “unofficial conduct of the
    individual who happens to be the President.” Clinton, 520 U.S.
    at 701.

         Or take another example: a campaign ad fully funded by
    a candidate’s campaign (her “authorized political committee”
    in the words of campaign-finance law). See 52 U.S.C.
    § 30120(a)(1), (d)(1)(B). In the ad, the candidate discusses her
    policy priorities—no doubt matters of public concern. And the
    ad concludes with the legally mandated disclosure, “Paid for
    and authorized by Jane Doe’s campaign,” followed by the
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                                   32
    familiar voiceover, “I am Jane Doe, and I approve this
    message.” Id. Under President Trump’s proposed public-
    concern test, if the candidate happens to be the sitting President
    (but not if she is a former President or any other candidate), her
    speech in the ad would be official—even though it is plainly
    campaign speech in a campaign ad given in her private capacity
    as candidate. A sitting President then would be absolutely
    immune from defamation liability for something she may have
    said about her opponent in the campaign ad, whereas a former
    President would face liability for saying the very same thing in
    the very same ad.

         The pro-incumbent imbalance would be especially stark if
    the former and current Presidents were to run against each
    other. In that situation, one candidate, the former President,
    would face civil damages liability for statements on matters of
    public concern in campaign ads or in an acceptance speech at a
    party convention. But the competing candidate, the sitting
    President, would be wholly insulated from damages liability
    for making the very same statements on the opposing side of
    the very same race. We see no basis for giving an incumbent
    President that kind of asymmetrical advantage when running
    against his predecessor.

         That is not to say that, when an incumbent President
    engages in campaign speech as a candidate, there is no
    recognition of his current office. At the party convention, he
    presumably would be introduced and referred to as the
    President, as is natural. And relatedly, he may give the
    acceptance speech at a podium affixed with the presidential
    seal, as nominees of both major political parties have done
    when speaking in their private capacities as candidates for re-
    election. See, e.g., Mark Knoller, Presidential Seal Returns to
    Obama Campaign Events After Change of Heart, CBS News
    (July 6, 2012, 5:31 PM), https://www.cbsnews.com/news
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    /presidential-seal-returns-to-obama-campaign-events-after-
    change-of-heart [https://perma.cc/533X-EVHE]; George W.
    Bush 2004 Acceptance Speech, C-SPAN (Sept. 2, 2004),
    https://www.c-span.org/video/?182731-2/george-w-bush-
    2004-acceptance-speech [https://perma.cc/6Z26-TNBD].

         But while the person giving the address is—and is
    recognized to be—the sitting President, he still delivers the
    address in his private, unofficial capacity as candidate for re-
    election. It is analogous to the President appearing in a public
    filing as the “President of the United States” but specifically
    “in his personal capacity as candidate for re-election.” Trump
    Mot. to Intervene 1 (capitalization altered). And when the
    President speaks strictly in that capacity, there is no warrant for
    granting him official-act immunity.

         In short, a President’s speech on matters of public concern
    can be an official act, as in the case of the State of the Union
    address, or an unofficial act, as in the case of a speech at a re-
    election campaign rally.        For purposes of presidential
    immunity, the key is whether the President is speaking (or
    engaging in conduct) in an official capacity as office-holder or
    instead in an unofficial capacity as officer-seeker. Whether the
    speech relates to matters of public concern is beside the point.

         Because President Trump believes that speech on matters
    of public concern constitutes official presidential action as a
    categorical matter, he makes no effort in this appeal to resist
    the notion that he was acting in his capacity as a candidate
    when engaged in the activity alleged in the complaints. In his
    view, he is entitled to immunity regardless of whether “he was
    acting as a candidate.” Trump Br. 18. Even if so, President
    Trump submits, his relevant actions “[i]n the run-up to January
    6th and on the day itself” amounted to speech on a matter of
    public concern—i.e., the “integrity of the 2020 election”—and
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    so fell “well within the scope of ordinary presidential action”
    entitled to immunity. Id. at 4.

         As President Trump would have it, then, he engaged in
    official presidential action for immunity purposes even when
    he, by his own description, acted and spoke “in his personal
    capacity as a candidate for re-election” rather than in his
    “official capacity as President.” Trump Mot. to Intervene 14;
    accord id. at 1, 3, 6, 19; compare Brief for the Petitioners at II,
    Trump v. Hawaii, 138 S. Ct. 2392 (No. 17-965). After all, his
    arguments in that filing addressed at length the same matter of
    public concern he invokes in this appeal—the “integrity of the
    2020 election.” Trump Br. 4; see Trump Mot. to Intervene 4–
    5, 8–12, 15–17, 25–28, 37–38. But as the Supreme Court has
    explained, there is “no support for an immunity for unofficial
    conduct,” Clinton, 520 U.S. at 694, and hence no basis for
    granting immunity for conduct (or speech) the President
    himself contemporaneously recognizes he undertakes in his
    personal, unofficial capacity as a candidate.

                                    c.

        Under Nixon and Clinton, then, the task is to distinguish
    between official acts and private acts. In the context of the
    cases before us, that means determining whether President
    Trump acted as an office-holder or office-seeker when he
    engaged in the activity alleged in the complaints.

         In that regard, we recognize that “there is not always a
    clear line between [the President’s] personal and official
    affairs.” Trump v. Mazars USA, LLP, 140 S. Ct. 2019, 2034
    (2020). In particular, “the line between President and
    candidate will not always be clear.” Trump Br. 18 (quoting
    Thompson, 590 F. Supp. 3d at 80). But in some situations,
    there will be little doubt, and not just when the President
    himself allows that he acts “in his personal capacity as a
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    candidate for re-election.” Trump Mot. to Intervene 14. When
    a sitting President solicits donations at a fundraiser for his re-
    election campaign, fires a campaign pollster or hires a new one,
    or gives a speech at a party convention accepting the party’s
    nomination, it is straightforward to conclude that he acts in an
    unofficial capacity as presidential candidate rather than an
    official capacity as incumbent President.

         Even if other contexts doubtless present closer calls, there
    is ultimately no avoiding the essential understanding that a
    President’s immunity from damages liability applies only to
    “acts within the ‘outer perimeter’ of his official responsibility,”
    Nixon, 457 U.S. at 756, and hence does not “extend[] beyond
    the scope of any action taken in an official capacity,” Clinton,
    520 U.S. at 694. The potential difficulty of meting out that
    distinction in some situations, then, cannot justify simply
    giving up on the enterprise altogether. And President Trump
    himself allows that “courts can, in fact, tell the difference
    between official and unofficial conduct.” Trump Reply Br. 14.

         The inquiry, though, should be fashioned and carried out
    with appropriate sensitivity to the important interests at stake.
    In that connection, the Supreme Court has emphasized the need
    to avoid “highly intrusive” inquiries “into the President’s
    motives.” Nixon, 457 U.S. at 756. An assessment of whether
    the President is engaged in official functions or unofficial re-
    election campaign activity, correspondingly, does not turn on
    whether the activity was subjectively undertaken in some
    measure to enhance the President’s re-election prospects or
    profile. The inquiry instead is an objective one, “grounded in”
    a context-specific assessment of “the nature of the function
    performed.” Clinton, 520 U.S. at 695 (internal quotation marks
    and citation omitted).
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         We emphasize context because, only by looking to context
    can the relevant nature of an action be understood. The same
    essential message or act may be either official or unofficial
    depending on the circumstances in which it is delivered or
    performed. The President’s delivery of the State of the Union
    address to Congress (and the public), for instance, is an official
    act. See U.S. Const. art. II, § 3. That remains so regardless of
    whether he may draw themes and make points with an eye on
    maintaining his public standing in an election year, or whether
    priorities given primacy in the speech may echo ones
    emphasized on the campaign trail. Conversely, a speech at a
    campaign rally fully funded by a President’s campaign
    committee might relate some of the same messages as the State
    of Union address, but is an unofficial event by nature.
    Similarly, the President can remove the Secretary of State, and
    he can remove his campaign manager. The former is an official
    exercise of the executive power. See Nixon, 457 U.S. at 757;
    Seila Law, 140 S. Ct. at 2197. But the latter is no such thing.
    Understanding the context, then, will often be essential to
    identifying the capacity in which a President acts.

         That context may be substantially informed by the way in
    which the President and the executive branch themselves treat
    the activity in question. If it is clothed in the trappings of an
    official function based on objective indicia, it more likely
    constitutes an official act for immunity purposes than if it bears
    the hallmarks of re-election campaign activity. So, if an
    activity is organized and promoted by official White House
    channels and government officials and funded with public
    resources, it is more likely an official presidential undertaking
    than if it is organized, promoted, and funded by campaign
    channels, personnel, and resources. Cf. Payment of Expenses,
    6 Op. O.L.C. at 215–17. Those considerations may not always
    point in the same direction, or even be known, but they can be
    illuminating when brought to light. The grant of immunity
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    aims to free the President from an inclination that may
    otherwise exist to discharge his official functions in an unduly
    cautious manner. Yet if the President’s (and executive
    branch’s) own treatment of the matter exhibits that he views
    himself to be engaged in private activity as a candidate, there
    is no cognizable public interest in assuring he can carry out that
    quintessentially unofficial function with boldness.

         When an appropriately objective, context-specific
    assessment yields no sufficiently clear answer in either
    direction, the President, in our view, should be afforded
    immunity. The “special nature of the President’s constitutional
    office and functions” prompted the Nixon Court to extend
    immunity to the “outer perimeter of his official responsibility.”
    457 U.S. at 756 (internal quotation marks omitted). And
    subsequent decisions have construed statutes not to constrain
    presidential action absent clear indication of Congress’s intent
    to do so. See Franklin v. Massachusetts, 505 U.S. 788, 800–
    01 (1992); Pub. Citizen v. U.S. Dep’t of Just., 491 U.S. 440,
    465–67 (1989); cf. Application of 28 U.S.C. § 458 to
    Presidential Appointments of Federal Judges, 19 Op. O.L.C.
    350, 351–57 (1995). The same considerations counsel in favor
    of construing the President’s actions to involve official
    functions “so long as [they] can reasonably be understood” as
    such. Hawaii, 138 S. Ct. at 2420. Conversely, though, when a
    President’s actions viewed objectively and in context may
    reasonably be understood only as re-election campaign
    activity, a court not only may, but must deny immunity. By
    doing so, the court “acts, not in derogation of the separation of
    powers, but to maintain their proper balance.” Nixon, 457 U.S.
    at 754.

        We have no occasion to apply that framework in this
    appeal because, as explained, President Trump makes no
    argument at this stage that his actions as alleged in the
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                                  38
    complaints were not re-election campaign activity. He will
    have every opportunity to make such an argument in the
    proceedings to come in the district court. See pp. 51–54, infra.
    But the inquiry we have outlined is consistent with his
    submission that the analysis should turn on “the function being
    performed and not the politics or policy being advanced or the
    words being used.” Trump Reply Br. 11. And the inquiry does
    not consist of “[t]rying to identify speech that would benefit a
    president politically.” Id. at 4.

         That is not to say that the content of a speech will
    invariably be entirely off-limits. In certain circumstances, for
    instance, it could serve to confirm what an objective
    assessment of the context makes evident. Indeed, even
    “[d]eciding whether speech is of public or private concern”
    under President Trump’s proposed approach would “require[]
    us to examine the content, form, and context of that speech.”
    Snyder, 562 U.S. at 453 (internal quotation marks and citation
    omitted). But the crux of the inquiry we have described
    concerns the context in which the President speaks, not what
    precisely he says or whether it might advance his re-election
    prospects.

         By way of illustration, consider President Trump’s speech
    at the “Salute to America” event on the National Mall on July
    4, 2019. By the time of that address, President Trump had
    formally announced his candidacy for re-election. Maggie
    Haberman et al., Trump, at Rally in Florida, Kicks Off His 2020
    Re-election Bid, N.Y. Times (June 18, 2019),
    https://www.nytimes.com/2019/06/18/us/politics/donald-
    trump-rally-orlando.html       [https://perma.cc/A2GB-P96X].
    And his address drew criticism in many quarters as amounting
    to a taxpayer-funded campaign rally in service of his re-
    election effort. See, e.g., Juliet Eilperin et al., Park Service
    Diverts $2.5 Million in Fees for Trump’s Fourth of July
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    Extravaganza, Wash. Post (July 2, 2019, 9:39 PM), https://
    www.washingtonpost.com/politics/white-house-gives-tickets-
    to-trumps-july-fourth-extravaganza-to-gop-donors/2019/07/02
    /9109a566-9ce0-11e9-b27f-ed2942f73d70_story.html [https://
    perma.cc/48UL-HV9W]. But several objective considerations
    strongly suggest that the speech was—and was treated by the
    President and executive branch as—part of an official event,
    regardless of whether what was said or how it was conceived
    might have borne some subjective connection to enhancing
    President Trump’s re-election prospects.

         For instance, the Salute to America rally was publicly
    funded, including through National Park Service and
    Department of Defense resources. See id.; Kathryn Watson,
    Pentagon Spent $1.2 Million for Trump’s July 4 “Salute to
    America”, CBS News (July 10, 2019, 8:09 AM),
    https://www.cbsnews.com/news/trumps-july-4-salute-to-
    america-cost-military-1-2-million-pentagon-says/        [https://
    perma.cc/87S6-ZWFT]. In addition, the government promoted
    the event, and its primary organizers were government officials
    from the White House and the Department of the Interior. See
    Eilperin et al., supra. The National Park Service, for example,
    “presented” the event and invited the public to attend. News
    Release, Nat’l Park Serv., National Park Service Presents 2019
    Independence Day Celebration in the Nation’s Capital (June
    27, 2019), https://www.nps.gov/nama/learn/news/national-
    park-service-presents-2019-independence-day-celebration-in-
    the-nation-s-capital.htm [https://perma.cc/9B8B-S3P6].

         Accordingly, the White House treated President Trump’s
    speech as official presidential remarks on its official website
    and, while President Trump was in office, dedicated a web page
    to the annual Salute to America event. See Remarks by
    President Trump at the 2019 Salute to America, The White
    House (July 5, 2019), https://trumpwhitehouse.archives.gov
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    /briefings-statements/remarks-president-trump-salute-america
    [https://perma.cc/YV6J-F82P]; Salute to America, The White
    House, https://trumpwhitehouse.archives.gov/salutetoamerica
    [https://perma.cc/GK67-JMLS] (last visited Nov. 18, 2023);
    see also Trump White House Archived, Salute to America 2019
    – Lincoln Memorial, YouTube (July 5, 2019),
    https://www.youtube.com/watch?v=wgL0v9sJ0ZM
    [https://perma.cc/9335-JGJG].        The White House also
    promoted the event on its official Twitter account. See, e.g.,
    @WhiteHouse45, Twitter (July 3, 2019, 6:01 PM), https://
    twitter.com/WhiteHouse45/status/1146539367269359618
    [https://perma.cc/3XJW-N7UZ]. And, finally, a number of
    government officials attended the event (as was noted in the
    President’s remarks, see Remarks by President Trump at the
    2019 Salute to America, supra), some of whom could have
    violated federal law by attending it if it were a campaign event,
    see 5 U.S.C. § 7324.

         We have no need here to definitively decide whether
    President Trump’s remarks at the Salute to America event
    would qualify as official presidential action for purposes of
    presidential immunity. Additional considerations might affect
    the assessment in some fashion. As one example, if the White
    House’s official Twitter feed regularly promoted quintessential
    campaign events, its promotion of the Salute to America rally
    may not itself shed material light on the event’s official or
    unofficial character in the eyes of the executive branch. But
    under the inquiry we have outlined, President Trump’s speech
    at the event would be treated as official action if it could
    reasonably be understood in that way. Whether his remarks
    addressed matters of public concern would not—and we
    believe should not—decide the issue.
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                                    41
                                    2.

         We turn next to President Trump’s alternative argument
    that he is entitled to official-act immunity because he took the
    actions alleged in the complaints in an exercise of his Article II
    duty to “take Care that the Laws be faithfully executed.” U.S.
    Const. art. II, § 3. President Trump’s contention in that regard,
    however, does not demonstrate that he was acting in his official
    capacity so much as presume it. His argument presents no
    ground for affording him immunity that is independent of his
    ability to show that he engaged in the relevant actions in his
    official capacity as President rather than in his private capacity
    as presidential candidate.

         The duty and authority to ensure the faithful execution of
    the laws, as with all of the executive power, is vested in the
    President solely in his official capacity. See U.S. Const. art. II,
    § 1, cl. 1. After all, the President assumes his Take Care Clause
    responsibilities and other executive duties only upon taking the
    constitutional oath of office, in which he must “solemnly swear
    (or affirm)” that he “will faithfully execute the Office of
    President of the United States.” Id. art. II, § 1, cl. 8 (emphasis
    added). Nothing in Article II contemplates the President’s
    exercise of the powers of the presidency when acting in a
    private—i.e., non-presidential—capacity. Rather, President
    Trump’s assertion that he exercised his authority under the
    Take Care Clause, at least without more, assumes the answer
    to the question whether he acted in an official capacity as
    office-holder or in a private capacity as office-seeker. If he
    acted in the latter capacity, he cannot have been exercising the
    duties of the very office he was seeking to attain—any more
    than could his challengers when taking the same kinds of
    actions in seeking to attain the same office.
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                                   42
         It is not that President Trump could not establish his
    entitlement to immunity by demonstrating that he acted
    pursuant to the Take Care Clause; it is that he has not done so.
    He asserts that he was attempting to ensure faithful execution
    of the laws—in particular, the Electoral Count Act—but he has
    not explained why his actions should count as official other
    than to say they fit within the ambit of his Take Care Clause
    duties. They might, or they might not, depending on the
    context in which he acted. The President could exhort
    Congress to do its duty under the Electoral Count Act in a
    campaign ad, or he could do the same in the State of the Union
    address. Even assuming (without deciding) that the latter
    would be an action taken in furtherance of the President’s Take
    Care Clause duties, the former would not be—and indeed could
    not be, given that, as explained, the Take Care Clause
    presupposes official rather than private action. President
    Trump, though, has made no argument as to why his actions
    alleged here should be treated more like the State of the Union
    than the campaign ad. His invocation of the Take Care Clause
    thus ultimately does not add anything to his claim of immunity
    in the circumstances of the cases before us.

                                   C.

          Whereas President Trump propounds a theory of immunity
    that, in application, could confer immunity even if he acted in
    an unofficial capacity as presidential candidate, the plaintiffs’
    theory presents the opposite shortcoming: it could deny a
    President immunity even if he acted in his official capacity as
    sitting President. The government’s proposed approach
    ultimately shares that same deficiency. We thus decline to
    adopt either the plaintiffs’ or government’s proposed rationales
    for rejecting President Trump’s claim of immunity.
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                                     43
                                     1.

         The plaintiffs argue that a President’s official
    responsibilities “do not include engaging in campaign
    activity.” Plaintiffs’ Br. 33. That reasoning, consistent with
    the approach we have outlined, focuses on whether the
    President acted in his official capacity as incumbent office-
    holder or instead engaged in campaign activity in his private
    capacity as office-seeker. To that extent, we agree with the
    plaintiffs’ understanding of the pertinent inquiry in the cases
    before us.

         But the plaintiffs also go further. In their view, President
    Trump’s actions were not official activity—and thus are not
    imbued with immunity—because they obstructed a
    constitutional process in which his office had no role, thereby
    infringing on the separation of powers. The plaintiffs maintain
    that the Constitution intentionally excludes the President from
    the formal process of counting electoral votes, assigning that
    function instead to Congress and the Vice President in his
    capacity as the President of the Senate. See U.S. Const. art. II,
    § 1, cl. 3–4; id. amend. XII. President Trump’s alleged efforts
    to interfere in that process, the plaintiffs assert, thus necessarily
    fell beyond the outer perimeter of his official presidential
    duties, and indeed undermined the democratic legitimacy of the
    presidency. As a result, the plaintiffs urge, President Trump’s
    claim of immunity must be denied.

         That argument, in our view, cannot carry the day. Nixon’s
    outer-perimeter test, as we have explained, does not confine the
    President’s official-act immunity to actions the Constitution
    expressly authorizes him to take. See pp. 20–21, 24, supra. We
    do not doubt, for instance, that the President can act in an
    official capacity when commenting on state legislation, on a
    judicial decision, or on Congress’s internal procedures, even
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                                    44
    though those matters may lie beyond the President’s own
    enumerated job duties. To be sure, if the President speaks
    about those subjects at a re-election campaign rally, he does so
    in an unofficial capacity. But that is because he acts in his
    private capacity as a presidential candidate, not because he
    engages with matters falling outside his enumerated executive
    responsibilities.

         Here, insofar as the plaintiffs’ argument rests on the notion
    that President Trump’s alleged actions infringed the separation
    of powers, their reasoning tends on balance to support granting
    immunity more than it does withholding it. The plaintiffs
    assert that President Trump “disrupted the constitutionally
    mandated separation of powers by invading a coordinate
    branch of government [i.e., Congress] as it carried out its own
    constitutional duties” to count the votes of the Electoral
    College. Plaintiffs’ Br. 28. That kind of “executive branch
    interference,” to the plaintiffs, id. at 33, works a “blatant
    violation of the constitutional separation of powers that
    ‘restrains each of the three branches of the Federal Government
    from encroaching on the domain of the other two,’” id. at 29–
    30 (quoting Clinton, 520 U.S. at 691).

         In conceiving of President Trump’s actions as an effort by
    one branch to interfere in another branch’s sphere, however,
    the plaintiffs’ argument presupposes that President Trump
    acted in an official capacity. He could effect an executive
    branch incursion on a coordinate branch only if he were acting
    in his capacity as the executive branch’s chief officer—i.e., in
    his official capacity as President. Put in the alternative, he
    could not work an executive branch intrusion on another
    branch’s domain if he were acting in an unofficial, private
    capacity: in that event, he would be acting as a private person
    lacking any authority over the executive branch, not as the
    branch’s chief officer. In short, the President acts in an official
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    capacity cloaked with the protections of immunity when he
    allegedly perpetrates an infringement of the separation of
    powers, but he lacks any such ability to violate the separation
    of powers when acting in the kind of private, unofficial
    capacity for which immunity is unavailable.

         By way of illustration, consider “[p]erhaps the most
    dramatic example” of a President found to have exceeded the
    executive branch’s authority in a manner encroaching on
    Congress’s domain. Clinton, 520 U.S. at 703 (discussing
    Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579
    (1952)). Youngstown Sheet & Tube Co. v. Sawyer involved a
    challenge to President Truman’s executive order directing the
    Secretary of Commerce to seize and operate the nation’s steel
    mills at the height of the Korean War. 343 U.S. at 582. The
    Supreme Court rejected that assertion of presidential power,
    holding that “[t]he Founders of this Nation entrusted the
    lawmaking power to the Congress alone in both good and bad
    times.” Id. at 589; cf. id. at 635–37 (Jackson, J., concurring).

         But while President Truman was found to have gone
    beyond the limits of his branch’s authority into the province of
    a coordinate branch, he did so in an exercise of official
    responsibility, as to which immunity from civil damages
    liability would attach. Indeed, the Supreme Court, in the
    course of later denying immunity to President Clinton,
    described President Truman’s challenged order in Youngstown
    as an example of “when the President takes official action.”
    Clinton, 520 U.S. at 703. So, whereas the Supreme Court
    would treat President Truman’s act as official even though it
    encroached on a coordinate branch’s domain, the plaintiffs’
    approach would treat it as unofficial—and, it follows,
    unprotected by official-act immunity in a civil damages suit.
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         The plaintiffs might perceive Youngstown as different
    from this case on a theory that President Trump affirmatively
    obstructed Congress, something President Truman did not do.
    But the Youngstown framework treats all presidential action
    interfering with the “expressed or implied will of Congress” the
    same—i.e., as falling at the “lowest ebb” of a President’s
    authority, but still fully eligible for treatment as official action
    for purposes of presidential immunity. See Zivotofsky v. Kerry,
    576 U.S. 1, 10 (2015) (quoting Youngstown, 343 U.S. at 637
    (Jackson, J., concurring)).          And we see no reliable,
    administrable criteria for predictably identifying when
    presidential action might amount to obstruction of a coordinate
    branch as opposed to something less. That is particularly so
    when, as here, the extent to which a President’s challenged
    actions ultimately interfere with a coordinate branch depends
    on how third parties respond to the President. Insofar as those
    kinds of third-party reactions may be difficult to predict—as
    could well be the case in the charged contexts in which
    presidential immunity can be in issue—a President might
    hesitate to act with the conviction and dispatch that official-act
    immunity aims to secure. See Nixon, 457 U.S. at 752–53.

         Under the plaintiffs’ theory, moreover, the availability of
    presidential official-act immunity would turn on the legality of
    the President’s actions—specifically, on whether the actions
    flouted the separation of powers by intruding on a coordinate
    branch. But Nixon forecloses a legality-centered approach of
    that sort. Recall that the Supreme Court rejected the suggestion
    that, because President Nixon had unlawfully discharged
    Fitzgerald without adequate cause, he had necessarily acted
    beyond the outer perimeter of his official functions. Nixon, 457
    U.S. at 756. Withholding immunity on that basis, the Court
    explained, “would subject the President to trial on virtually
    every allegation that an action was unlawful,” which in turn
    “would deprive absolute immunity of its intended effect.” Id.
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         Those concerns apply to an alleged violation of the
    separation of powers no less than to any other alleged violation
    of law. In fact, the more uncertain the lawfulness of
    prospective official action, the more pronounced the need for
    (and effect of) granting official-act immunity. On that register,
    immunity for separation-of-powers violations rates quite high,
    for “the lines between the powers of the three branches are not
    always neatly defined.” Clinton, 520 U.S. at 701. For that
    reason as well, we are unmoved by the plaintiffs’ argument for
    a denial of immunity based on President Trump’s ostensible
    infringement of the separation of powers.

                                   2.

         Like the plaintiffs, the government puts forward an
    argument for affirming the denial of immunity to President
    Trump that does not adequately correlate with whether he took
    the actions alleged in the complaints in his official capacity as
    President or in his private capacity as presidential candidate.
    In fact, the central object of the government’s proposed
    approach is to avoid the need to apply that distinction. See
    Gov’t. Br. 16, 22. We appreciate the government’s submission
    of its views in response to our invitation to share the executive
    branch’s perspective on the proper resolution of this appeal, but
    we decline to adopt the government’s suggested approach.

         The government’s proposed approach is highly fact-
    specific, turning on the particular grounds advanced (and not
    advanced) by President Trump on appeal. The government
    seizes on President Trump’s argument that speech on matters
    of public concern, as a categorical matter, is an official
    presidential function. That argument, the government reasons,
    assumes that a President would be afforded immunity even if
    his speech amounts to incitement of imminent private violence.
    The government proposes that we reject President Trump’s
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    argument for immunity by exploiting that assumption, because,
    in the government’s view, incitement of imminent private
    violence by definition lies outside a President’s official
    functions. And the government suggests that we simply
    assume that President Trump’s conduct fits within that
    category of ostensibly non-immune activity, the boundaries of
    which the government would define by reference to First
    Amendment standards marking unprotected incitement as set
    out in Brandenburg v. Ohio, 395 U.S. 444 (1969).

         As an initial matter, the government’s suggested approach
    could lead to our denying immunity to President Trump based
    on an assumption that turns out to be false—indeed, an
    assumption that President Trump has already contested. The
    government asks us to assume for purposes of this appeal (but
    not actually decide) that President Trump’s speech on January
    6 and in the leadup to that day falls outside the First
    Amendment’s protections because it amounts to incitement of
    imminent lawless action under Brandenburg. We could so
    assume only because that First Amendment question is not
    presently before us, since President Trump opted not to seek
    appellate review on the issue at this time. See 28 U.S.C.
    § 1292(b). If his First Amendment claim were before us, we
    would need to engage it on the merits rather than assume its
    rejection. The issue, though, remains in the case and could
    come before us at a later stage. So if we were to accept the
    government’s suggested approach, we might resolve the
    question of President Trump’s immunity based on an assumed
    answer to his First Amendment claim that perhaps could—
    depending on its ultimate resolution, the merits of which we do
    not now assess in any way—fail to stand up in the end.

         As for the substantive merits of the government’s
    proposed approach, it aligns the scope of a President’s official-
    act immunity with the scope of protected speech under the First
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    Amendment. There is no evident precedent for that kind of
    approach, and the fit seems an uneasy one. The considerations
    that inform whether a President is engaged in the discharge of
    official duties—the relevant question for purposes of
    presidential immunity—bear no necessary relation to the
    considerations that inform whether a President’s speech would
    fall within the First Amendment’s protections. The two
    inquiries serve distinct purposes, and in some sense appear to
    work at cross purposes. At a high level, the President is
    immune when he acts in his official capacity—i.e., as the
    government rather than as a private person—whereas the First
    Amendment protects private persons against restraints imposed
    by the government. It is unclear why the existence of official-
    act immunity’s protections for acting as the government should
    turn on the existence of First Amendment protections against
    the government.

         In operation, the government’s proposed approach would
    tend to confer presidential immunity when it is least needed
    while withholding it when it is most needed. As to the former,
    if the President’s speech falls within the First Amendment’s
    protections, the government’s approach would preserve
    presidential immunity. But if the First Amendment protects the
    President’s speech, that protection would foreclose the
    possibility of civil damages based on the speech regardless of
    presidential immunity. See, e.g., Hustler Magazine, Inc. v.
    Falwell, 485 U.S. 46, 55–56 (1988). In that situation, then, the
    President would have little need for the protection that official-
    act immunity would afford.

         Conversely, if the President’s speech falls outside the First
    Amendment’s protections because it amounts to incitement,
    the government’s proposed approach would leave the President
    without official-act immunity even if it otherwise seems
    apparent that the speech was delivered in an official capacity—
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    e.g., in the State of the Union address. And while the
    government specifically focuses on incitement, there are other
    types of unprotected speech, too, such as defamation. See
    United States v. Stevens, 559 U.S. 460, 468–69 (2010). We see
    no conceptual basis for confining a theory that would render
    immunity unavailable when the First Amendment is
    unavailable to one type of unprotected speech alone. So, the
    President would be denied immunity not just for incitement,
    but also for defamation (or other types of unprotected
    expression). And when the President engages in speech
    amounting to incitement or defamation, he not only removes
    himself from the First Amendment’s protections, but he also
    subjects himself to the prospect of damages suits—the situation
    in which official-act immunity is salient. E.g., Milkovich v.
    Lorain J. Co., 497 U.S. 1, 11 (1990) (civil action for
    defamation); cf. Falwell, 485 U.S. at 56 (intentional infliction
    of emotional distress); see also Blassingame Compl. ¶¶ 180–
    89, J.A. 59–60 (inciting to riot); Swalwell Compl. ¶¶ 192–200,
    208–20, J.A. 120–22, 123–26. (inciting to riot and inciting
    assault).

         The government would accept that result because it
    considers incitement (and presumably other categories of
    similarly unprotected speech) to be categorically unofficial.
    But it is possible that a President, in exhorting the public to
    action on a cause considered essential or in responding to a
    reporter’s question at a White House press briefing about
    criticism directed at the President, might speak in a manner
    testing the potentially indistinct lines dividing protected from
    unprotected speech: “incitement to disorder,” the Supreme
    Court recently observed, “is commonly a hair’s-breadth away
    from political ‘advocacy.’” Counterman v. Colorado, 143 S.
    Ct. 2106, 2118 (2023) (quoting Brandenburg, 395 U.S. at 447);
    see also NAACP v. Claiborne Hardware Co., 458 U.S. 886,
    927 (1982); cf. Jones v. Clinton, 72 F.3d 1354, 1359 n.7 (8th
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    Cir. 1996), aff’d on other grounds, 520 U.S. 681 (1997)
    (alleging defamation “by Mr. Clinton’s presidential press
    secretary while Mr. Clinton was President”).

         The government’s suggested approach would deny
    official-act immunity if a President’s borderline speech falls on
    the wrong side of that potentially elusive divide. But immunity
    cannot serve its intended purpose if it is withheld when a
    President would need it most—i.e., when a President might
    refrain from undertaking some course of official action because
    of uncertainty about whether it could give rise to damages
    liability. To that end, Nixon, as explained, rejected as unduly
    constraining the proposition that a President’s official-act
    immunity is coextensive with the legality of his actions. See
    457 U.S. at 756. Yet that would be the upshot of an approach
    that would deny immunity if the President’s speech falls
    beyond the First Amendment’s protections.

         All told, we see no sound basis for categorically excluding
    unprotected speech from the protections of presidential
    official-act immunity—and little affirmative reason for doing
    so. We therefore decline to accept the government’s proposed
    approach.

                                  III.

         While we affirm the district court’s denial of President
    Trump’s claim of official-act immunity at the current stage of
    the proceedings, that does not mean the proceedings now
    instantly move ahead to engage with the merits of the plaintiffs’
    claims. President Trump moved to dismiss the claims against
    him on grounds of official-act immunity based on the
    allegations in the complaints, and at the motion-to-dismiss
    stage, those allegations are assumed to be true. He thus has had
    no opportunity to dispute the plaintiffs’ allegations bearing on
    the immunity question or to introduce his own facts pertaining
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    to the issue. He must be afforded that opportunity before the
    proceedings can move ahead to the merits, including before any
    merits-related discovery.

         Official immunity, including the President’s official-act
    immunity, is “immunity from suit rather than a mere defense to
    liability.” Mitchell v. Forsyth, 472 U.S. 511, 526 (1985). It is
    “an entitlement not to stand trial or face the other burdens of
    litigation.” Id. And as we have made clear, “[d]iscovery is
    itself one of the burdens from which defendants are sheltered”
    by official immunity. Martin, 812 F.2d at 1430 (collecting
    cases). The importance of shielding officials from the burden
    of unwarranted discovery is among the reasons the Supreme
    Court has “repeatedly . . . stressed the importance of resolving
    immunity questions at the earliest possible stage in litigation.”
    Pearson v. Callahan, 555 U.S. 223, 232 (2009) (quoting
    Hunter v. Bryant, 502 U.S. 224, 227 (1991) (per curiam)).
    Those concerns are particularly pronounced when the official
    claiming immunity from suit is the President. See generally
    Nixon, 457 U.S. at 749–53.

         While President Trump therefore must be afforded an
    opportunity to resolve his immunity claim before merits
    discovery, discovery bearing on the immunity question itself
    might be in order if the circumstances warrant it. The Supreme
    Court has recognized that discovery “tailored specifically to the
    question of” immunity may be merited when there is a need to
    develop facts or resolve factual disputes to facilitate deciding a
    threshold question of immunity. Anderson v. Creighton, 483
    U.S. 635, 646–47 n.6 (1987). President Trump may of course
    move for summary judgment on his immunity claim, and the
    district court may rule on any such motion once the factual
    record on the issue is sufficiently developed. Cf. Kartseva v.
    Dep’t of State, 37 F.3d 1524, 1530 n.21 (D.C. Cir. 1994)
    (“[W]here the parties present a factual dispute about the
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    challenged conduct, and the merits of the qualified immunity
    question turn on that dispute, ‘discovery may be necessary
    before [a] motion for summary judgment on qualified
    immunity grounds can be resolved.’” (second alteration in
    original) (quoting Anderson, 483 U.S. at 646–47 n.6)).

         At the summary-judgment stage—and throughout—
    President Trump bears the burden of establishing that he is
    entitled to official-act immunity. As a general matter, “[t]he
    burden of justifying absolute immunity rests on the official
    asserting the claim.” Harlow v. Fitzgerald, 457 U.S. 800, 812
    (1982); accord Banneker, 798 F.3d at 1140. There is no
    evident reason to apply any different approach in the context of
    presidential immunity.         In Nixon, the Supreme Court
    characterized a President’s official-act immunity as a
    “defense” that President Nixon had “claimed,” 457 U.S. at 741,
    and the Court nowhere suggested the need for any President-
    specific exception to the “general rule” that a defendant must
    “plead and prove . . . a defense,” Taylor v. Sturgell, 553 U.S.
    880, 907 (2008). Accordingly, in Jones v. Clinton, the court of
    appeals held that President Clinton bore the burden of
    establishing his entitlement to presidential immunity, 72 F.3d
    at 1361, a conclusion the Supreme Court did not address or
    revisit in its decision in the case.

         Although President Trump must demonstrate his
    entitlement to immunity, that burden will be met if, based on
    an appropriately objective, context-specific assessment, his
    alleged actions can reasonably be understood as the official
    actions of an office-holder rather than the unofficial actions of
    an office-seeker. See pp. 34–37, supra. In other words, is it
    reasonable to think he was exercising his official
    responsibilities as President, or was he instead engaging in re-
    election campaign activity as a presidential candidate? The
    complaints contain factual allegations potentially bearing on
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    the issue—for instance, that the January 6 rally was “organized
    in part by Trump’s former campaign staff” and “arranged and
    funded by a small group including a top Trump campaign
    fundraiser and donor,” Blassingame Compl. ¶ 59, J.A. 38
    (quotation marks and citation omitted), or “was organized and
    funded by Trump’s campaign organization,” Swalwell Compl.
    ¶ 97, J.A. 98. President Trump appears to deny those accounts
    as a factual matter, having asserted in the district court that “the
    January 6th rally is in no way related to the campaign; . . . the
    campaign doesn’t pay [] for it; the campaign is not involved
    with it at all.” J.A. 327.

         Those sorts of considerations and others would inform the
    assessment and ultimate resolution of President Trump’s claim
    of official-act immunity in the proceedings to come in the
    district court, insofar as he continues to press that defense. As
    for the appeal presently before us, we affirm the district court’s
    denial of President Trump’s motion to dismiss on grounds of
    presidential immunity, and we leave it to that court to conduct
    further proceedings on the issue as desired and warranted.

                           *    *    *    *   *

        For the foregoing reasons, we affirm the district court’s
    denial of President Trump’s motion to dismiss the claims
    against him on grounds of presidential immunity.

                                                           So ordered.
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         KATSAS, Circuit Judge, concurring: This appeal presents
    the question whether President Trump is entitled to immunity
    from damages claims based on his speech outside the White
    House on January 6, 2021. Under Nixon v. Fitzgerald, 457
    U.S. 731 (1982), the President is immune from damages claims
    based on his official acts. But under Clinton v. Jones, 520 U.S.
    681 (1997), the President is not immune from claims based on
    private, unofficial acts. The immunity question thus turns on
    whether President Trump made the January 6 speech in an
    official or private capacity.

          Today, we do not definitively resolve that question.
    Instead, we hold only that we cannot resolve it on a motion to
    dismiss. Our conclusion rests on two propositions persuasively
    established by Chief Judge Srinivasan’s lead opinion. First, in
    certain limited contexts, courts may reliably conclude that a
    sitting President is speaking only in a private capacity as a
    candidate for re-election or as the leader of a political party.
    These include instances where the President speaks at a party
    convention, in a presidential debate, in a political
    advertisement, at a campaign rally, or at a party fundraiser.
    Second, the operative complaints plausibly allege that the
    January 6 speech involved this kind of purely private campaign
    speech. In particular, the complaints allege that the January 6
    rally was organized by campaign staff and funded by private
    donors, and was neither facilitated by White House staff nor
    paid for with congressionally appropriated funds. Given those
    allegations, which remain to be tested on summary judgment
    or at trial, we cannot resolve the immunity question in
    President Trump’s favor at this stage of the case.

        Although we do not definitively resolve the immunity
    question, we do set forth the legal framework for assessing it.
    Given the immunity’s importance, I offer a few thoughts
    elaborating on the Court’s handiwork.
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                                    2
          The parties present us with stark, categorical alternatives.
    President Trump’s primary contention is that whenever a
    sitting President speaks on a matter of public concern, the
    speech is official enough for immunity to attach. The plaintiffs
    respond that immunity can attach only to speech made in
    furtherance of a presidential power specifically enumerated in
    Article II of the Constitution. The Court rightly rejects both
    positions.

         As to the latter, Presidents routinely speak in an official
    capacity even when not directly exercising any enumerated
    power. Decades if not centuries of tradition establish that the
    President may use the soft power of his office—the bully
    pulpit—to urge action by Congress, the judiciary, the states, or
    private parties on matters of public concern. Ante, at 20–21,
    24, 43–44. For example, the political branches have no official
    role in deciding cases or controversies, U.S. Const. Art. III, yet
    Presidents often comment officially—in White House press
    conferences or even State of the Union addresses—about past
    or prospective Supreme Court decisions.             The federal
    government has no official role in deciding whether guns
    should be permitted near schools. United States v. Lopez, 514
    U.S. 549 (1995). Yet a President could, in his official capacity,
    seek to cajole state officials one way or the other on that issue.
    Likewise, as the government explains in this case, “a President
    acts within the scope of his office when he urges Members of
    Congress to act in a particular way with respect to a given
    legislative matter—even a matter, such as a congressional
    investigation, in which the President has no constitutional
    role.” Brief for United States as Amicus Curiae at 11,
    Blassingame v. Trump, No. 22-5069 (D.C. Cir. March 2, 2023);
    see also id. at 12 (“the President can and must engage with the
    public on matters of public concern”).
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                                    3
         As to the former, the President does not always act in an
    official capacity when he speaks on matters of public concern.
    To take a few trivial examples, the President acts unofficially
    when he speaks with a first cousin, an old college friend, a
    business associate, or the teachers of his school-age children—
    even if they happen to discuss matters of public concern. And
    as relevant here, the President acts unofficially when he speaks
    as a candidate. Immunity attaches to functions of presidential
    action, not to the individual occupying the Office of the
    President. See Clinton v. Jones, 520 U.S. at 694–95.

         How, then, to distinguish official from private presidential
    speech on matters of public concern? The Court stresses an
    “objective” inquiry into the “context” of the speech,
    “substantially informed” by whether it is “clothed in the
    trappings of an official function”—i.e., whether it is “organized
    and promoted by official White House channels” and “funded
    with public resources.” Ante, at 35–37. In some instances, this
    inquiry will yield clear answers: Campaign or other political
    events are unofficial; White House staff may not work on them,
    and congressionally appropriated funds may not support them.
    See, e.g., Payment of Expenses Associated with Travel by the
    President and Vice President, 6 Op. O.L.C. 214 (1982).
    Accordingly, when the President speaks at campaign events—
    whether in political conventions, debates, advertisements,
    rallies, or fundraisers—he normally does so in a private
    capacity, as a candidate for re-election or as the leader of his
    party. On the other hand, many other kinds of presidential
    speech are obviously official—for instance, the State of the
    Union address, a formal address from the Oval Office, or a
    press conference from the White House Press Briefing Room.

         As the Court makes clear, this inquiry in no way turns on
    the President’s motive for the speech at issue. In particular, the
    inquiry does not turn on the extent to which a speech reflects
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                                    4
    the President’s views of good politics as opposed to good
    policy. Ante, at 35. As a general matter, motive-based
    inquiries are “highly intrusive” and thus inappropriate for
    scoping out immunity, even in cases involving plausible
    allegations that the President has acted for some
    unconstitutional purpose. See Nixon v. Fitzgerald, 457 U.S. at
    756. Moreover, a motive-based inquiry would be even more
    unsound to separate official presidential action from the
    unofficial actions of a mere candidate for re-election.
    Presidents routinely take political considerations into account
    in their official acts, which is the intended goal of a
    Constitution establishing the presidency as an elected and thus
    democratically accountable office.

         Nor should the immunity turn on how political the speech
    appears on its face. A State of the Union address does not
    become unofficial if it contains base partisan jabs in addition
    to august policy proposals. And a President’s acceptance
    speech at a party nominating convention does not become
    official if it contains august policy proposals in addition to base
    partisan jabs. Because the President may deliver the “same
    essential message” at an official or unofficial event, the
    immunity cannot turn on what he says. Ante, at 36. Thus, while
    the content of a speech may “serve to confirm what an objective
    assessment of the context makes evident,” id. at 38, it cannot
    substitute for that assessment. In other words, if a presidential
    speech is “clothed in the trappings of an official function,” id.
    at 36, it almost certainly warrants the protection of official
    immunity.

        The Court’s approach recognizes that presidential speech
    on matters of public concern will very often be official—and
    thus immunized. To begin with, the President is always on-
    duty: He “alone composes a branch of government.” Trump
    v. Mazars USA, LLP, 140 S. Ct. 2019, 2034 (2020). Vested
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                                    5
    with the entire “executive Power” of the United States, U.S.
    Const. Art. II, § 1, cl. 1, he must “take Care that the Laws be
    faithfully executed,” id. § 3, cl. 1, and must supervise over four
    million subordinates in the process, see Seila Law LLC v.
    CFPB, 140 S. Ct. 2183, 2191 (2020). Absent a disability
    established by formal executive action under the Twenty-Fifth
    Amendment, he must always remain “ready, at a moment’s
    notice, to do whatever it takes to preserve, protect, and defend
    the Constitution and the American people.” Amar & Katyal,
    Executive Privileges and Immunities: The Nixon and Clinton
    Cases, 108 Harv. L. Rev. 701, 713 (1995). Unless speaking at
    some specific campaign or political event, he will thus likely
    be “clothed in the trappings” of his Office—whether in the
    West Wing, in the Executive Residence, on Air Force One, at
    Camp David, at his own private residence, visiting foreign
    dignitaries, or even on a working vacation. In these contexts,
    his speech on matters of public concern will likely be official.
    (I do not address here the distinct question whether the
    President in these settings may choose to speak on public
    matters in a purely private capacity. Cf. Knight First Amend.
    Inst. v. Trump, 928 F.3d 226 (2d Cir. 2019), vacated as moot
    sub nom. Biden v. Knight First Amend. Inst., 141 S. Ct. 1220
    (2021).) And critically, if it is unclear whether the presidential
    speech is official, the Court appropriately preserves the
    immunity. Ante, at 37.

         One final point: The President’s official duties are so
    pervasive that he may occasionally render official speech even
    during a typical campaign event. Imagine, for instance, that the
    President uses such an event to remove his Secretary of State.
    That would surely be an official act, ante, at 36, which could
    not serve as the basis for a wrongful-termination lawsuit.
    Likewise, any accompanying explanation of the removal, given
    its close connection to the official act, would likely count as
    official speech. Thus, it likely could not serve as the basis for
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                                    6
    a defamation lawsuit. Or recall the iconic image of President
    Bush reading a book to schoolchildren on September 11, 2001,
    when an aide whispered to him that America was under attack.
    Had that event been a political rather than an official event, and
    had the President immediately responded with an off-the-cuff
    statement to rally or console the Nation, I have little doubt that
    the response would have been official. Despite the Court’s
    emphasis on the formal “trappings” of an event, id., its
    contextual approach does not foreclose consideration of the
    constitutional and practical imperative that the President must
    be able to engage in official business on a moment’s notice,
    even when speaking at campaign events.

        In sum, the Court’s approach is well-tailored to identify
    campaign speech that can reasonably be viewed only as
    unofficial. It does not threaten to strip immunity from other
    kinds of presidential speech. It is flexible enough to
    accommodate rare cases where even speech made during a
    campaign event may be official. And it is cautious, in leaving
    open both the question whether the speech at issue is entitled
    to immunity and, if not, whether the First Amendment
    nonetheless protects it.
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        ROGERS, Circuit Judge, concurring in part. The issue
    before the court on interlocutory review is whether the district
    court erred when it partially denied President Trump’s motion
    to dismiss pending civil claims on the basis of absolute
    immunity.

         The Supreme Court has twice addressed the scope of
    absolute presidential immunity in the context of suits for civil
    damages. In Nixon v. Fitzgerald, 457 U.S. 731 (1982), the
    Court held that President Nixon was absolutely immune from
    civil damages claims arising from his reorganization of the
    Department of the Air Force and the plaintiff’s resultant job
    loss during Nixon’s presidency. In Clinton v. Jones, 520 U.S.
    681 (1997), the Court held that absolute presidential immunity
    did not apply against suits for civil damages arising from a
    transaction or occurrence before the start of a President’s
    tenure. Although the facts are distinct from the instant case,
    both decisions emphasize that the President has absolute
    immunity from civil damages suits that arise from his execution
    of official presidential duties. See Nixon, 457 U.S. at 749, 754;
    Clinton, 520 U.S. at 693-95.

         I concur in the court’s substantive legal analysis of the sole
    issue before the court. Op. Pts. I, II.A, II.B.1.a-b & B.2.
    Because the remainder of the opinion is premature and
    unenforceable dictum, I do not join it. Op. Pts. II.B.1.c, II.C,
    & III; see Concurring Op. of Judge Katsas.

                                    I.

         President Trump seeks reversal of the denial of his
    absolute immunity defense because his pre–January 6th speech
    on Twitter, his January 6th rally speech, and his failure to act
    promptly once the Capitol was breached fall into two discrete
    presidential “functions” and therefore were undertaken in his
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                                   2
    official capacity: (1) speaking on matters of public concern and
    (2) the constitutional duty to “take Care that the Laws be
    faithfully executed,” U.S. CONST. art. II, § 3. On appeal, he
    does not dispute that at these times he was acting as a candidate
    for reelection. See Appellant’s Br. at 8-10. Both contentions
    are unpersuasive.

         A defendant who seeks to assert absolute immunity bears
    the burden of showing that it applies. Banneker Ventures, LLC
    v. Graham, 798 F.3d 1119, 1140 (D.C. Cir. 2015). Although
    not explicitly assigning the burden of proof, the Supreme Court
    has acknowledged that a President “asserts his immunity.”
    See Nixon, 457 U.S. at 748. This court thus applies Banneker,
    an in-circuit guide for absolute immunity determinations. Cf.
    Op. at 12.

                                   A.

          President Trump principally contends that “the expansive
    immunity to which [he] is entitled,” Appellant’s Br. at 11,
    applies “whenever and wherever a President speaks on a matter
    of public concern,” id. (quoting Dist. Ct. Op. at 33). Although
    the President’s absolute immunity from suit extends to actions
    falling within the “outer perimeter” of official duty, Nixon, 457
    U.S. at 757, “the sphere of protected action must be related
    closely to the immunity’s justifying purposes,” id. at 755; see
    Clinton, 520 U.S. at 694. The main rationale for absolute
    immunity is that the President’s duties distinguish the role of
    President from that of other executive officials. The immunity
    afforded is “a functionally mandated incident of the President’s
    unique office” because the “diversion of [the President’s]
    energies by concern with private lawsuits would raise unique
    risks to the effective functioning of government.” Nixon, 457
    U.S. at 749, 751. Given that rationale, absolute immunity
    applies to claims for civil damages against the President for
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                                   3
    official acts — not to criminal acts or acts taken in a personal
    capacity. See id. at 749, 754; Clinton, 520 U.S. at 693-95.

         Speech on matters of public concern is unquestionably a
    function of the presidency. Yet the critical question is whether
    all speech on matters of public concern, regardless of
    substance, context, or consequence, must be considered an
    official duty, or at least on the outer perimeter thereof. As the
    court explains, Op. Pts. II.B.1.a-b, the fact that speech touches
    on a matter of public concern, and that the President is the
    speaker, does not automatically render that speech part of a
    “designated function[],” Clinton, 520 U.S. at 693, or part of the
    “discharge of [the President’s] official duties” — an essential
    aspect of the logic of attaching immunity, Nixon, 457 U.S. at
    752 n.32. The Supreme Court’s admonition that the sphere of
    action protected by absolute immunity must be closely tied to
    the immunity’s justifying purposes, see Nixon, 457 U.S. at 755,
    forecloses President Trump’s expansive interpretation of
    speech on matters of public concern. It cannot be that anytime
    the President speaks in a way that touches on a matter of public
    concern, absolute immunity from suit attaches. Op. at 27. The
    content and context of that speech matters. Id. at 33. President
    Trump maintains that denying absolute immunity would be
    “terribly damaging” to the Executive Branch and would
    undercut the President’s ability to freely discuss congressional
    and judicial action. Appellant’s Br. at 22. But refusing to
    attach absolute immunity to speech that is clearly outside the
    bounds of official duty — e.g., ordering armed protestors to a
    Supreme Court Justice’s house, slandering a political opponent,
    or inciting violence — discourages only that speech, not all
    speech concerning the topics.

        So understood, President Trump’s January 6th speech on
    Twitter leading up to the rally and his speech at the rally
    implicated important matters of public concern, including the
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                                    4
    outcome of the 2020 presidential election and election integrity
    generally. Yet because not all speech on matters of public
    concern serves an official function, the district court correctly
    inquired into what purpose that speech was serving: was
    President Trump engaged in the performance of an official act,
    or was he carrying out some other function outside the scope of
    official duty? See Dist. Ct. Op. at 33. That determination, as
    the court emphasizes, requires a close look at the specific acts
    alleged to determine whether they were performed in the course
    of furthering an official presidential function. Op. Pt. II.B.1.b.
    The Supreme Court’s reasoning supports a functional analysis,
    see Clinton, 520 U.S. at 692-93, as does this court’s treatment
    of absolute immunity in Banneker, 798 F.3d at 1140. In
    Banneker, the court focused on the “relationship between ‘the
    act complained of’ and the corresponding ‘matters committed
    by law to [the official’s] control or supervision.’” Id. at 1141
    (quoting Barr v. Matteo, 360 U.S. 564, 573 (1959)). See also
    Dist. Ct. Op. at 36.

          Although the line between President and candidate may
    not always be clear, President Trump’s alleged words and
    actions were directed toward promoting his victory in the 2020
    presidential election rather than carrying out a designated
    official duty to confirm the integrity of the electoral process, to
    ensure the faithful execution of the laws, or to fulfill other
    official purposes. See Op. at 4-5; Dist. Ct. Op. at 38. In
    conducting a functional analysis based on the record, the
    district court could properly find that President Trump’s
    criticism of state officials and promotion of the January 6th
    “Save America” rally were not, viewed in context, in
    furtherance of an official presidential function, but rather were
    acts directed at securing his reelection. See Dist. Ct. Op. at 37-
    39. So too President Trump’s filing of lawsuits contesting the
    election and his rally speech itself. See Op. at 4-5, 9, 10-12;
    Dist. Ct. Op. at 38-40. At no point before, during, or
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                                    5
    immediately after January 6th did President Trump identify a
    constitutional or statutory provision in accordance with which
    he was purporting to exercise an officially designated
    presidential duty. Under the circumstances, it is unnecessary
    to inquire into the President’s motives in order to conclude that
    his actions did not constitute an official function of his office.
    See Nixon, 457 U.S. at 756-57.

         In some instances, a functional analysis approach to
    absolute immunity may involve difficult questions and require
    close judicial calls. Not so at this stage of the proceedings. See
    Op. at 6. To permit the application of absolute immunity under
    the alleged facts would stretch the outer perimeter of
    presidential duty to result in immunity to the officeholder,
    rather than to the execution of official duties. See id. at 27.

                                   B.

          Alternatively President Trump contends that he is entitled
    to official-act immunity because he took the alleged actions in
    an exercise of his Article II duty to “take Care that the Laws be
    faithfully executed.” U.S. CONST. art. II, § 3; Appellant’s Br.
    at 27-31. The court explains why this contention must fail. Op.
    Pt. II.B.2.

         The President’s authority to exercise executive power in a
    specific manner “must stem either from an act of Congress or
    from the Constitution itself.” Youngstown Sheet & Tube Co.
    v. Sawyer, 343 U.S. 579, 585 (1952). Article II and the Take
    Care Clause do not grant the President boundless authority to
    supervise, control, or otherwise interfere with procedures
    entrusted by law to other branches of government. In the
    district court, President Trump failed to identify any
    constitutional, much less statutory, provision that authorized
    the official acts allegedly taken — whether his tweets, his rally
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                                    6
    speech, or his failure to act promptly when the Capitol was
    breached. See Dist. Ct. Op. at 29-30.

         President Trump now points to the Electoral Count Act, 3
    U.S.C. § 15, as the statute he was attempting to enforce.
    Appellant’s Br. at 31. That statute prescribes no role to the
    President. The Founders allocated the electoral process to an
    intermediate body of electors on behalf of the people, rather
    than to the “one who was himself to be the final object of the
    public wishes.”        THE FEDERALIST NO. 68 (Alexander
    Hamilton). Following similar logic, the Electoral Count Act
    prescribes a certification process to be carried out by the Senate
    and the House of Representatives — not the President. The
    President lacks an identified duty to faithfully execute the laws
    for the certification of electoral votes.

         President Trump has failed to identify any specific
    provision, other than the Take Care Clause generally, that
    would grant him the authority to execute or enforce Electoral
    College certification procedures. Scholarly interpretations of
    Article II point to the passive voice of the Take Care Clause —
    “take Care that the Laws be faithfully executed” — as implying
    that the President must have some degree of direction, power,
    control, or supervision over the officials engaging in that
    execution. See Dist. Ct. Op. at 30 (citing Andrew Kent et al.,
    Faithful Execution and Article II, 132 HARV. L. REV. 2111,
    2126 (2019); Gillian E. Metzger, The Constitutional Duty to
    Supervise, 124 YALE L.J. 1836, 1875 (2015)). By design, then,
    the President has specific and limited control over the co-equal
    legislative branch (e.g., the veto power).

                                   II.

         Mine is a partial concurrence because the remaining parts
    of the court’s opinion address issues unnecessary to dispose of
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    the sole issue now on appeal. The court has no occasion to
    define a “framework” of analysis for the district court on
    remand and acknowledges that its framework does not apply
    now. See Op. Pt. II.B.1.c. The Supreme Court’s framework in
    Nixon and Clinton suffices. See Op. Pt. II.A. Similarly, the
    court has no occasion to address additional contentions of the
    plaintiffs, Op. Pt. II.C.1, nor the contention by the United States
    in response to the request for its views, Op. Pt. II.C.2; Order
    (Dec. 20, 2022). Those contentions may become relevant
    during the district court’s continued consideration of the
    parties’ arguments but they are not yet before this court.

         Notwithstanding the importance of the absolute immunity
    issue, the record suggests no reason for this court to direct the
    order of the district court’s proceedings on remand. The district
    court has signaled appreciation of the sensitive institutional
    issue in addressing a presidential claim of absolute immunity,
    and there is nothing to suggest this will not continue. At this
    early stage of the proceedings, this limited interlocutory appeal
    offers scant insight into how the district court proceedings will
    and should proceed. Significantly, as well, this court has no
    reason to presume that the record in a subsequent appeal will
    be limited to that now before the court. And the district court
    is well able to consider arguments of the parties’ counsel and
    rule in accord with precedent on standards of review for
    motions for summary judgment, rendering Part III unnecessary.
    See Op. Pt. III.
